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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA ex         )             CV No. TDC 21-3260
 rel. Todd Pattison,                 )
                                     )
 United States Department of Justice )           COMPLAINT OF THE UNITED STATES
 Post Office Box 261                 )           OF AMERICA FOR:
 Ben Franklin Station                )
 Washington, DC 20044,               )           1. VIOLATIONS OF THE FALSE
                                     )              CLAIMS ACT 31 U.S.C. § 3729(a)(1)(A)
        Plaintiffs,                  )           2. VIOLATIONS OF THE FALSE
                                     )              CLAIMS ACT 31 U.S.C. § 3729(a)(1)(B)
 v.                                  )           3. VIOLATIONS OF THE FALSE
                                     )              CLAIMS ACT 31 U.S.C. § 3729(a)(1)(C)
 PATRONUS SYSTEMS, INC.,             )           4. VIOLATIONS OF THE ANTI-
                                     )              KICKBACK ACT 41 U.S.C. § 8706(a)(1)
 3000 N. Wickham Road, Suite 8       )           5. VIOLATIONS OF THE ANTI-
 Melbourne, Florida 32935,           )              KICKBACK ACT 41 U.S.C. § 8706(a)(2)
                                     )           6. PAYMENT BY MISTAKE
 PATRONUS SYSTEMS PARTNERS,          )           7. UNJUST ENRICHMENT
 LLC,                                )
                                     )                  JURY TRIAL DEMANDED
 3000 N. Wickham Road, Suite 8       )
 Melbourne, Florida 32935,           )
                                     )
 MABEL RUTH O’QUINN,                 )
                                     )
 3000 N. Wickham Road, Suite 8       )
 Melbourne, Florida 32935,           )
                                     )
        Defendants.                  )
 ___________________________________ )


                                        OVERVIEW

       1.     This is an action brought by the United States to recover damages and civil

penalties under the False Claims Act (FCA), 31 U.S.C. §§ 3729-33, and under the Anti-Kickback

Act, 41 U.S.C. § 8706, and to recover all remedies available under common law claims for

payment under mistake of fact and unjust enrichment.
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       2.      This action arises from a fraudulent scheme involving Defendant Patronus

Systems, Inc. (“Patronus”), Defendant Patronus Systems Partners, LLC (“PSP”), their nominal

owner, Defendant Mabel Ruth O’Quinn, and five of the highest-ranking now-former executives

of Paragon Systems, LLC (“Paragon”), a provider of protective security officers (“PSO”) at

federal buildings, to use Patronus as a sham small business to acquire Federal set-aside contracts

for which substantially all work could be subcontracted to Paragon, which was itself not eligible

for the small business set-aside contracts. The parties also conspired to award set-aside contracts

to Patronus in connection with contracts for which Paragon was the prime contractor. Patronus

was controlled by four of Paragon’s now-former executives (collectively “Paragon Executives”)

— its President (“Paragon President”), Vice President of Operations (“VP Ops”), Compliance

Manager and Contracts Manager (collectively the “Paragon Managers”). The Paragon Managers

were the adult sons of the Paragon President.

       2.      The Paragon President, the Paragon VP Ops, and the Paragon Managers received

kickbacks from Patronus totaling over $4.6 million, primarily disguised as purported consulting

payments. The Patronus scheme is part of a larger fraudulent scheme which resulted in the

payment of over $11 million in kickbacks and skimmed federal funds paid to the Paragon

Executives by Patronus and three other ineligible Paragon subcontractors.1 Between

approximately May and August 2023, the Paragon President and the Paragon Managers were

terminated by Paragon. A fifth Paragon executive, a Vice President of Business Operations (“VP

BD”) previously retired in 2022.




1
       Paragon, Athena Services International, LLC (“ASI”) and Athena Joint Venture Services,
LLC were previously named defendants in this action, but the United States has reached
settlements with them, and the owner of ASI, Alisa Silverman. See concurrently filed Status
Reports re: Defendants Paragon, ASI, and AJVS attaching settlement agreements.
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       3.      The Patronus scheme resulted in the submission of nearly 700 false claims by

Patronus and Paragon, under both Patronus and Paragon contracts with the Federal Protective

Services (”FPS”), a division of the United States Department of Homeland Security (“DHS”) for

protective security guard services at federal buildings across the United States. These false

claims resulted in DHS’ payments of over $106 million paid directly or indirectly to Patronus.

                                         JURISDICTION

       4.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1345 and

1331. The Defendants are doing and/or previously did business within this District.

                                              VENUE

       5.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 31 U.S.C.

§ 3732(a). All Defendants are doing and/or previously did business within this District.

                                            PARTIES

       The United States of America

       6.      The plaintiff is the United States of America. The United States brings this

lawsuit on behalf of its agencies, DHS, and the Small Business Administration (“SBA”). The

DHS contracts at issue in this action for protective security guard services at federal buildings,

include, but are not limited to, five contracts on which Patronus served as the prime contractor

and subcontracted work to Paragon (contract numbers: 70RFP119DE4000001,

70RFP320DE3000001, 70RFP418DE5000001, HSHQE3-15-R-00002, and HSHQWA-16-D-

00002) and seven contracts on which Patronus served as a subcontractor to Paragon (contract

numbers: HSHQE4-13-D-00001, 70RFP420DE7000003, 70RFP118DE1000001, HSHQE1-13-

D-00002, HSHQE4-12-D-00005, HSHQE4-17-D-00002). These contracts were issued by at the

DHS Headquarters located at 245 Murray Lane, SW, Washington, DC 20528-0075. The SBA



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awarded a Paycheck Protection Program (“PPP”) loan to Patronus which is also at issue in this

action.

          7.    Relator Todd Pattison is a resident of Annapolis, Maryland. He is the Chief

Executive Officer and President of CDA, Inc. d/b/a MaxSent, a company based in Annapolis,

Maryland that provides protective security services for, inter alia, federal government buildings.

          The Defendants

          8.    Defendant Patronus Systems, Inc. (“Patronus”) is a privately held corporation

incorporated in Florida. It’s principal place of business is 3000 N. Wickham Road, Suite 8,

Melbourne, Florida. It is registered as a Service Disabled Veteran- and Woman-Owned Small

Business and employs PSOs at various federal buildings under FPS contracts and subcontracts.

Patronus' s President and nominal sole owner is Mabel O'Quinn. Patronus is licensed by the

State of Maryland as a Security Guard Provider, under License No, 22PLU-SG17414.

          9.    Defendant Patronus Systems Partners, LLC (“PSP”) was a Florida corporation

incorporated in July 2018 and located at 3000 N. Wickham Road, Suite 8, Melbourne, Florida. It

was a joint venture between Paragon and Patronus. Ms. O'Quinn was the registered agent for

PSP, and she filed articles of dissolution for the company with the Florida Secretary of State in

November 2018.

          10.   Defendant Mabel Ruth O’Quinn (“O’Quinn”) is a resident of Florida whose

business address is 3000 N. Wickham Road, Suite 8, Melbourne, Florida.

                                      The False Claims Act

          11.   The False Claims Act, 31 U.S.C. §§ 3729, et seq., is the primary remedial statute

designed to deter fraud upon the United States. Sections 3729(a)(1)(A), 3729(a)(1)(B), and

3729(a)(1)(C) of the FCA are relevant here.



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       12.       Section (a)(1) of the False Claims Act imposes civil liability, in pertinent part,

upon any person, who in dealing with the Government, either “(A) knowingly presents, or causes

to be presented, a false or fraudulent claim for payment or approval; (B) knowingly makes, uses,

or causes to be made or used, a false record or statement material to a false or fraudulent claim;”

... or “(C) conspires to commit a violation of subparagraph (A), (B), (D), (E), (F), or (G)[.]” 31

U.S.C. §§ 3729(a)(1)(A), (B), and (C).

       13.       False Claims Act liability may be imposed where the United States was

fraudulently induced to enter a contact where the Government was induced by, or relied upon,

the fraudulent statement or omission when it awarded a contract or when it agreed to contract

modifications.

       14.       The False Claims Act defines “knowing” and “knowingly” to include actual

knowledge, deliberate ignorance, or reckless disregard and requires no proof of specific intent to

defraud. See 31 U.S.C. § 3729(b)(1)(A), (B). The term “material,” as used in the FCA, “means

having a natural tendency to influence, or be capable of influencing, the payment or receipt of

money or property.” See 31 U.S.C. § 3729(b)(4).

       15.       As pertinent herein, the False Claims Act imposes liability of treble damages plus

a civil penalty for each violation. The False Claims Act also imposes a penalty of not less than

$5,000 and not more than $10,000, as adjusted by the Federal Civil Penalties Adjustment Act of

1990, 28 U.S.C. 2461 note; Pub. Law No. 104-410. See 31 U.S.C. 3729(a). Pursuant to the

Bipartisan Budget Act of 2015, all civil statutory penalties, including those set forth in the FCA,

are required to be adjusted annually for inflation. See Pub. Law. No. 114-74, § 701, 129 Stat.

584, 599. As a result, for any FCA violation occurring after November 2, 2015, the FCA

imposes a penalty of not less than $5,000 and not more than $10,000, as adjusted by the



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Bipartisan Budget Act of 2015. See 28 C.F.R. § 85.5 (identifying civil statutory penalty amounts

currently in effect, including Congressionally-mandated annual inflation adjustments). The

current inflation-adjusted penalty for any FCA violation occurring after November 2, 2015, is

not less than $13,946 and not more than $27,894 per claim. See id.

                                    The Anti-Kickback Act

       16.     The Anti-Kickback Act (AKA), 41 U.S.C. § 8702, prohibits the payment, offer, or

solicitation of a kickback from a federal contractor or a subcontractor. A kickback is defined

broadly to include anything of value or compensation of any kind provided to a prime contractor

or prime contractor employee to improperly obtain or reward favorable treatment in connection

with a prime contract or a subcontract relating to a prime contract. 41 U.S.C. § 8701(a). The

AKA does not require a quid-pro-quo agreement. The AKA also prohibits including the amount

of a kickback in the contract price charged by a subcontractor to a prime contractor or by a prime

contractor to the government. 41 U.S.C. § 8702(3).

                              Small Business Set-Aside Contracts

       17.     In creating the SBA, Congress sought to assist small businesses by ensuring that

they receive a “fair proportion” of government contracts. 15 U.S.C. § 631(a). Congress further

established by statute certain government-wide goals for the percentage of federal contracts

awarded to small businesses. 15 U.S.C. § 644(g). Agencies have also created targeted sub-goals

for certain categories of disadvantaged small businesses, including service-disabled veteran

owned small businesses and woman-owned small businesses.

       18.     A company must apply for and receive SBA approval to qualify as a woman-

owned small business (WOSB), or service-disabled veteran owned small business (SDVOSB).




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After being designated as such, the business may compete for the award of contracts that are set

aside for eligible small businesses.

       19.     To qualify as a small business, companies must meet defined eligibility criteria,

including requirements concerning size, ownership, and operational control. Regarding size, an

organization must not exceed a specific threshold number of employees. Notably, in assessing

the size of an organization, businesses must consider any “affiliation” they have with other

entities, and when a company is affiliated with other entities the employees of all affiliated

businesses are aggregated to determine the size of the company. See 13 C.F.R. § 121.105(4)(i).

The test for affiliation encompasses a variety of factors, and, in general, “entities are affiliates

with each other when one controls or has the power to control the other, or a third party or parties

controls or has the power to control both.” § 121.103(a).

       20.     Regarding ownership and control, an enterprise cannot qualify as a small business

concern unless the person on whom the status of the business is based owns a majority of the

company and exercises control over the day-to-day operations of the company, rather than

merely being a mere figurehead owner in name only. See 13 C.F.R. §§ 124.106, 125.13, and

127.102.

                                  Paycheck Protection Program

       21.     The PPP loan program was enacted to address the economic fallout from the

COVID-19 pandemic by providing small businesses with low-interest rate loans guaranteed by

SBA. These loans could later be forgiven to the extent the proceeds were spent on payroll and

certain other eligible businesses expenses. PPP loans, like other SBA programs, were available

only to “small businesses.” A company’s own employees and revenue are considered together

with the employees and revenue of any “affiliate” to determine whether it is a “small business.”



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Companies were considered “affiliates” if they shared common operational control. 13 C.F.R. §

121.301; 85 Fed. Reg. 20817 (Apr. 15, 2020) (Interim Final Rule regarding affiliation).

       22.     Congress created the PPP under section 7(a) of the Small Business Act as part of

the Coronavirus Aid, Relief, and Economic Security Act (“CARES Act”), Pub. L. No. 116-136,

§ 1102, 134 Stat. 281, 286 (Mar. 27, 2020). The PPP, which is administered through the SBA,

provided emergency relief to small businesses affected by the COVID-19 pandemic and was

designed to cover businesses’ actual gross payroll expenses to keep people employed during the

COVID-19 pandemic. See 15 U.S.C. § 636(a)(36).

       23.     The SBA did not make PPP loans directly. Rather, the CARES Act delegated

authority to private lenders, such as Kabbage, to make PPP loans pursuant to PPP requirements.

See 15 U.S.C. § 636(a)(36)(F)(ii)–(iii).

       24.     The CARES Act provided for borrower loan forgiveness for PPP funds used for

certain expenses. See CARES Act, Pub. L. No. 116-136, § 1106, 134 Stat. 281, 297 (Mar. 27,

2020). To apply for PPP loan forgiveness, borrowers submitted loan forgiveness applications

through their lenders, and lenders then rendered a forgiveness decision to the borrower and the

SBA. See 85 Fed. Reg. 33004, 33005 (June 1, 2020); 85 Fed. Reg. 38304, 38306 (June 26,

2020). If a borrower received loan forgiveness, the SBA issued forgiveness payments to lenders.

See 85 Fed. Reg. 33010, 33013 (June 1, 2020); 85 Fed. Reg. 38304, 38306 (June 26, 2020). If a

borrower’s forgiveness application was denied or the borrower otherwise defaulted on the PPP

loan, the lender could request that the SBA purchase the guaranty of the PPP loan. See SBA

Procedural Notice, No. 5000-812316 (July 15, 2021). So long as lenders adhered to the program

requirements, the SBA would guarantee the unforgiven or defaulted loan amounts. See 15

U.S.C. § 626(a)(2)(F); 85 Fed. Reg. 20811, 20816 (Apr. 15, 2020); 86 Fed. Reg. 8283, 8294



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(Feb. 5, 2021). To receive forgiveness or guaranty payments, lenders submitted claims and

certifications to the SBA. See SBA Form 3507, at ¶ 6; SBA Procedural Notice, No. 5000-20038,

at 5 (July 23, 2020). The SBA then disbursed payments to lenders, which included the 1%

interest due on the loan. See 85 Fed. Reg. 33004, 33005 (June 1, 2020); 85 Fed. Reg. 38304,

38306 (June 26, 2020); 86 Fed. Reg. 8283, 8288 (Feb. 5, 2021).

       25.     A PPP loan recipient cannot use PPP loan funds to pay its independent contractors

because independent contractors are eligible for their own PPP loans.

                               THE FRAUDULENT SCHEME

       26.     The Paragon Executives entered into a scheme with O’Quinn, Patronus, and PSP

to defraud the United States by (i) bidding on and submitting claims for payment on small

business set-aside contracts awarded by DHS for which they were not eligible; (ii) submitting

claims for ineligible subcontractor services on Paragon’s prime contracts; and (iii) paying

kickbacks to the Paragon Executives and otherwise skimming funds from federal contracts which

were paid to the Paragon President. In reality, the Paragon Executives controlled Patronus and

were surreptitiously paid over $4.4 million in kickbacks by Patronus. These kickbacks were

disguised as consulting payments paid to certain of the Paragon Executives and shell companies

that they controlled or to the spouse of one of the Paragon Executives. The Paragon Executives

were assisted by some other Paragon executives and employees who provided services to

Patronus either as part of a larger conspiracy or in return for payments from Patronus.

               A.     Patronus Corporate History

       27.     Patronus was incorporated in February 2010, by its initial Directors, O'Quinn and

A.D., the spouse of the Paragon President. In the Patronus articles of incorporation, A.D. used

her maiden name and her home address where she resided with the Paragon President. For



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several years, Patronus did not conduct any substantial business. During this time, O'Quinn was

a full-time employee of the United States Department of the Air Force. In February 2011, A.D.

resigned as a director of Patronus and ended her ownership interest in Patronus. However, until

at least 2023, Patronus compensated A.D.’s family members – the Paragon President (A.D.’s

spouse) and the Paragon Managers (A.D.’s step-children) – as if A.D. and her family still had an

ownership interest in Patronus.

       28.     In or about December 2015, Paragon’s President sent O’Quinn and O'Quinn’s

Spouse, a draft operating agreement between Patronus and MCKHU, Inc., a shell company

incorporated by the Paragon President, A.D., and the Paragon President’s adult daughter. The

draft operating agreement identified MCKHU as a 40% owner of Patronus. The draft operating

agreement stated:

               ●     The Members’ ownership interest in Patronus shall be as follows: MO
               [Mabel O’Quinn] sixty per cent (60%), MCKHU forty per cent (40%).

               ●      The management of Patronus is vested in its Board of Directors. The
               Board of Directors will consist of MO [Mabel O’Quinn] and a representative of
               MCKHU.

               ●   MO [Mabel O’Quinn] shall be issued sixty per cent (60%) of the stock and
               MCKHU forty per cent (40%) of the stock.

               ●       No member shall sell, hypothecate, pledge, assign, or otherwise transfer,
               with or without consideration, any part of his Ownership Interest in the Company
               to any other person or entity unless agreed to by both MO [Mabel O’Quinn] and
               MCKHU.

From 2015 to at least 2023, Patronus’ profits were distributed between O’Quinn and MCKHU in

a 60/40 split as set forth in the draft operating agreement.

       29.     The draft operating agreement allocated to O’Quinn the functions of human

resources, security operations, and to act as Patronus’ Treasurer. It allocated to MCKHU the

following functions, which constituted the bulk of Patronus’ operations:

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                      MCKHU will provide primary Corporate support and oversight in the
               following functions, subject to MO [Mabel O’Quinn] role as Managing member:

                      7.3.1 Finance, including invoicing, accounts payable, accounts
               receivable, bank reconciliations, general ledger maintenance, tax filing, insurance,
               contracts maintenance, budgeting , funding, and related matters.

                       7.3.2 Legal and Labor oversight, including contract compliance,
               licensure, collective bargaining agreement negotiation and maintenance, union
               relations, labor law compliance, employee termination and discipline review, and
               related matters.

                       7.4     No Member shall be entitled to additional compensation for
               carrying out its Responsibilities in accordance with this Agreement without the
               written consent of all Members.

       30      On or about May 7, 2016, O’Quinn’s Spouse sent Patronus’ Bylaws, which had

been signed by O’Quinn, to the Paragon President. The language of the Patronus bylaws were

substantially similar to the draft operating agreement and identified MCKHU as a 40% owner of

Patronus:

               ●      The stockholders of Patronus shall be MRO and MCKHU.

             ●       The stock ownership in Patronus shall be as follows: MRO [Mabel
       O’Quinn] sixty percent (61%), MCKHU forty percent (40%).

              ●       The Board of Directors shall consist of MRO [Mabel O’Quinn], and a
       representative of MCKHU. MRO [Mabel O’Quinn] is designated the President/CEO,
       MCKHU representative, [the MCKHU President], will be the Secretary/Treasurer.

       31.     The Patronus bylaws similarly allocated to O’Quinn the functions of human

resources, security operations, and to act as Patronus’ Treasurer. The bylaws allocated to

MCKHU the following functions, which constituted the bulk of Patronus’ operations:

               7.1.3 MCKHU shall act as the Company Treasurer, preparing all invoices to
       clients and all items for accounts payable. The President/CEO, will have the final
       authority on payables and all check requests.

               7.3    MCKHU Support. MCKHU will provide Corporate support and oversight
       in the following functions, not all inclusive, subject to wishes of the BOD (Board of
       Directors):

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                       7.3.1 Finance, including invoicing, accounts payable, accounts
               receivable, bank reconciliations, general ledger maintenance, tax filing, insurance,
               contracts maintenance, budgeting, funding, and related matters,
                       7.3.2 Legal and Labor oversight, including contract compliance,
               licensure, collective bargaining agreement negotiation and maintenance, union
               relations, labor law compliance, employee termination and discipline review, and
               related matters.

               7.4    No Stockholder shall. be entitled to additional compensation for carrying
       out its Responsibilities in accordance with this Agreement without the written consent of
       all Stockholders.

All of MCKHU’s responsibilities to Patronus were carried out by the Paragon Managers, not the

MCKHU President, the adult daughter of the Paragon President who had no involvement in the

operations of Patronus.

       32.     On June 2, 2015, O’Quinn falsely attested that Patronus was: (1) a small business;

(2) a veteran-owned small business; (3) a service-disabled veteran-owned small business; (4) a

disadvantaged small business; and (5) a woman-owned small business. She certified that

Patronus was not owned or controlled by a larger entity or affiliate, thereby concealing de facto

ownership and operational control of Patronus that was exercised by the Paragon President and

Paragon Managers. She reaffirmed this attestation to United States until at least 2023.

                      1.      The Patronus MCKHU/Frontline “Consulting Agreements”

       33.     Patronus entered into purported “consulting agreements” with two shell

companies controlled by Paragon’s President and the Paragon Managers, his adult sons, in order

to surreptitiously pay them at least 40% of Patronus’ profits disguised as purported consulting

fees. Additionally, these consulting agreements were one of the methods Patronus and O'Quinn

used to hide the Paragon’s Executives’ operational control and de facto ownership of Praetorian.

       34.     MCKHU, Inc., a shell corporation, was incorporated in Ohio in February 2015 by

Paragon’s President; his spouse, A.D.; and the Paragon President’s adult daughter (“MCKHU

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President”). MCKHU’s business address was the Paragon President’s residence. The members

of MCKHU were the Paragon President’s three adult children, including, but not limited to, the

Paragon Managers, and, at one point, his mother. While the Paragon President was never the

president of MCKHU, in 2015, he represented to MCKHU’s bank, Bank of America, that he was

the president of MCKHU and signed the account signature card as MCKHU’s President. The

Paragon President remained the sole signatory on the MCKHU bank account until at least March

2022 and he personally endorsed checks paid to MCKHU by various Paragon subcontractors.

       35.     In April 2015, Patronus signed a “consulting agreement” with MCKHU, a shell

company controlled by Paragon’s President and the Paragon Managers, to provide consulting

services at $195 per hour. All of the purported services provided to Patronus by MCKHU were

provided by the Paragon Managers, largely from their offices at Paragon during normal business

hours. Under that subcontract, MCKHU submitted pro forma invoices to Patronus which were

devoid of any details of the services provided. In addition to the amounts that Patronus paid on a

monthly basis to MCKHU, MCKHU also received substantial distribution payments from the

profits of Patronus.

       36.     From April 2015 to April 2019, when another shell company replaced MCKHU,

Patronus paid MCKHU over nearly $1.5 million which, at $195 per hour, would equate to over

2,000 hours per year for those four years or 1,000 hours per year for each Paragon Manager, who

were also working full time for Paragon and had a similar “consulting agreement” with Athena

Services International, LLC (“ASI”), another sham subcontractor which was also controlled by

the Paragon Executives and the Paragon VP BD. O’Quinn and Patronus knew that that Paragon

Managers were simultaneously working for Paragon, and, upon information and belief, O’Quinn

and Patronus knew that that Paragon Managers were simultaneously working for ASI.



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Combined, the Paragon Managers’ purported work for Paragon, Patronus, and ASI constituted

more than two full-time jobs.

       37.     In late 2018, a successful bid protest was filed against a Patronus-Paragon joint

venture, which identified, inter alia, the involvement of A.D. in the incorporation of Patronus.

The Paragon President and the Paragon Managers expressed concern to each other that their

family address was available in publicly available Patronus corporate records and that their

family name was included in publicly available MCKHU corporate records. In September 2019,

the Paragon President and Managers created three different Ohio LLC corporations to accept the

payments from Patronus and two other Paragon subcontractors. Frontline Solution, LLC

(“Frontline”) was created by the Paragon President and the Paragon Managers to accept the

Patronus payments. Frontline’s account signature card listed the Paragon Managers and their

adult sister as the members of the company. Frontline transferred the Patronus funds to a fourth

Ohio LLC corporation, Elite Capital Venture, LLC, which, in turn, distributed the funds to three

additional Ohio LLC corporations which were named with initials that corresponded to the

names of the Paragon President’s adult daughter and the Paragon Managers. While none of the

Paragon Executives’ names were included in the publicly available corporate records of these

new LLC corporations, their bank records show that the Paragon Manager and the President’s

adult daughter were signatories on their accounts.

       38.     In January 2019, Patronus signed a consulting agreement with Frontline for $225

per hour, which was later increased to $250 per hour. Frontline submitted monthly invoices to

Patronus, all of which contained identical descriptions of the work performed by Frontline:

               Various Professional Services to include accounting, billing,
               pricing, payroll, human resources, contracts administration,
               compliance, and other GovCon support.



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While the number of hours on the invoices varied, no timesheets were submitted, and the person

who purportedly performed the work was not identified by name. However, the work performed

by Frontline was performed solely by the Paragon Managers.

       39.     From 2019 to mid-2022, Paragon paid Frontline over $2.5 million. At $250 per

hour, that represented 10,000 hours over the three and one-half year period, or over 2,900 hours

per year, which was 1,450 hours for each of the two Paragon Managers. During the same time

period, the Paragon Managers were both full-time employees of Paragon, and had similar

consulting arrangements, although not written agreements, with ASI and another Paragon

subcontractor. O’Quinn and Patronus were aware that the Paragon Managers were working for

both Paragon and Patronus, and, upon information and belief, O’Quinn and Patronus knew that

that Paragon Managers were simultaneously working for ASI. During this time, the Paragon

Managers were purportedly working the equivalent of four full-time jobs. Even if Patronus and

O'Quinn were only aware that the Paragon Managers were working for Paragon and Patronus,

they were aware that each of the Paragon Managers were purporting to work over 3,400 hours

per year, or nearly 60% of their waking hours every day, seven days per week. These hours

demonstrate that Patronus’ payments to Frontline were not for hours of bona fide consulting

services paid at fair market value but, instead, distributions of Patronus’ profits to the Paragon

President and Managers.

               B.      The Paragon-Patronus Fraudulent Bids, Contracts and Claims for
                       Payment

       40.     Beginning in or about 2012, Paragon started partnering with women-owned and

minority-owned small businesses in order to meet federal guidelines for the use of small business

contractors. Rather than establish relationships with unrelated third-party small business

subcontractors, which would not have paid the Paragon Executives millions in purported

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“consulting fees,” the Paragon Executives assisted in the creation of at least three entities that

purported to be women-, minority-, or veteran-owned small business subcontractors, including

Patronus, which they actually controlled through family members or friends. Because these

Paragon small business contractors were controlled by the Paragon Executives, they were

affiliated with Paragon, and did not qualify for small business contractor status.

       41.     On March 6, 2012, Paragon contacted O'Quinn’s Spouse stating that Paragon’s

President suggested that Paragon work with O’Quinn’s business as a SDVOSB. At all times

relevant herein, O’Quinn’s Spouse was the Vice President of one of the largest labor unions for,

inter alia, protective security guard personnel, including guards who worked for Paragon, and

later Patronus and the other sham subcontractors. The Paragon Executives knew O’Quinn’s

Spouse from his leadership role at the labor union. The United States is informed and believes,

and on that basis alleges, that the Paragon President and O’Quinn’s Spouse had developed a

personal friendship. The next day, O’Quinn’s Spouse emailed her resume to Paragon’s VP BD

and President, noting that Patronus did not have the required licenses. As with much of the early

Patronus-Paragon business discussions, O’Quinn was not copied on these emails. Rather, the

email communications were between O’Quinn’s Spouse and the Paragon Executives.

                       1.      Patronus’ Initial Subcontracts with Paragon

       42.     Beginning in 2012, the Paragon Executives, together with Paragon’s VP BD,

selected Paragon federal contracts, including, but not limited to, Paragon’s North Florida and

Alabama contracts, on which Patronus would serve as a subcontractor. Paragon’s VP BD

selected Paragon’s FPS guard contract for Jacksonville, Florida to subcontract to Patronus. At

this point, Patronus was a start-up corporation with no experience or operations. Patronus’ only

selling point to Paragon was its relationship with the Paragon President and Paragon Managers,



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and O’Quinn Spouse’s connection to the security guard labor union. In 2014, Paragon’s VP BD

told another Paragon employee that the “main qualification” he looked for in subcontractors for

the FPS contracts was “[m]alleability and our ability to focus their decisions.” O'Quinn’s Spouse

edited the draft Patronus-Paragon subcontract, modifying the language and seeking comments

from the Paragon Managers and the Paragon President.

       43.     In April 2015, O'Quinn, Patronus and Paragon submitted an Application for a

Mentor Protégé Agreement between Paragon and Patronus signed by O'Quinn and the Paragon

President. This application falsely claimed that Patronus was “a small service-disabled, woman

owned firm[.]” The application was submitted to DHS by Paragon VP BD with a copy to

O'Quinn. At the time of this email, O'Quinn, Patronus, and the Paragon Executives knew that

Patronus was controlled by the Paragon President, the Paragon Managers, and O'Quinn’s Spouse.

For those reason, Patronus was an affiliate of Paragon under applicable SBA rules and, thus, was

ineligible. Based on the false representations in the application, DHS approved the Paragon-

Patronus Mentor Protégé Agreement in or about September 2015.

       44.     Paragon and Patronus’ April 2015 application to DHS estimated that Paragon’s

in-house assistance to Patronus over 3 years would be limited to:

       ●       360 hours of Marketing and Business Development Assistance at an estimated
               cost of $18,000;
       ●       200 hours of Management and Technical Assistance at an estimated cost of
               $12,000;
       ●       450 hours of Financial Assistance at an estimated cost of $27,000.

Under the terms of the Paragon-Patronus Mentor Protégé Agreement, Paragon should have

provided a total of 1,010 hours of assistance at an average of $57 per hour for a total worth of

$57,000 for three years.




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          45.   The reality of the relationship between Paragon and Patronus was substantially

different from the representations made to DHS in the mentor protégé agreement. From

September 2015 to September 2018, the time frame of the Paragon – Patronus DHS Mentor

Protégé Agreement, Patronus paid MCKHU for what would have been over 26,000 hours of

work at $57 per hour or the equivalent of more than four full time employees over the three year

period:

                Time Frame         MCKHU Payment                Calculated Hours
                2015-2016               $41,000                        719
                2016-2017               $527,414                      9,252
                2017-2018               $959,015                      16,824
                                       $1,527,429                     26,795

Moreover, the Mentor Protégé Agreement did not provide for Patronus paying Paragon for the

assistance. Therefore, the Paragon-Patronus Mentor Protégé Agreement provided no

justification for Patronus’ massive payment to MCKHU and ultimately to the Paragon President,

the Paragon Managers, and their family members.

          46.   In or about March 2014, Patronus became a subcontractor on Paragon’s FPS

North Florida contract and its follow-on contract, until May 2023, when the contract ended. In

or about December 2015, Patronus became a subcontractor on Paragon’s FPS Alabama contract

until about June 2018, when the contract ended. In or about August 2017, Patronus became a

subcontractor on Paragon’s FPS Southern Virginia contract, will about March 2018, when the

contract ended. In or about October 2018, Patronus became a contractor on Paragon’s FPS New

England contract until about December 2022. In or about October 2020, Patronus became a

subcontractor on Paragon’s FPS Louisiana contract, until June 2023, when Paragon cancelled the

subcontract.




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        47.     In connection with these subcontracts, the Paragon Executives sought approval

for Patronus to serve as its subcontractor, falsely identifying Patronus as an eligible small

business subcontractor. On many occasions the Paragon Executives falsely informed DHS that

Patronus was a woman owned SDVOSB and sought DHS’s approval to use Patronus as a

subcontractor, including on March 19, 2014 on Paragon’s FPS North Florida, on May 18, 2017,

Paragon’s FPS Southern Virginia contract, and on August 18, 2021, on Paragon’s FPS New

England contract. At all times relevant, Patronus was controlled by the Paragon Executives and,

thus, was not an eligible small business.

        48      Paragon’s Small Business Subcontracting Plan, which was prepared by the

Paragon Contracts Manager and submitted to DHS as part of its bids, falsely represented that

Patronus was a small business. Because of the relationship between Patronus and the Paragon

Executives who controlled the operations of Patronus, it was not an eligible small business. The

Paragon Contracts Manager also worked for Patronus and continues to do so to this day. For

example, the Paragon Contracts Manager did not disclose the over $1 million that his family

business, MCKHU, had been paid by Patronus by April 24, 2018, the date of the Small Business

Contracting Plan. The representations in the Small Business Subcontracting Plans were material

to the contracts.

        49.     Even before the subcontract agreements were in place, Patronus began invoicing

Paragon. For example, on January 22, 2014, O’Quinn’s Spouse contacted Paragon’s President

asking for the name of the Paragon employees to submit Patronus’ invoices, the Paragon

President told O'Quinn’s Spouse to submit the invoices directly to him. Given the size of

Paragon and the hundreds of subcontractors it had, it was unusual that the Paragon President

handled the receipt of one small subcontractor’s invoices. Later, the Paragon President told



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O'Quinn’s Spouse to coordinate with one of his adult sons, Paragon’s Contracts Manager,

regarding the Patronus invoices.

       50.     Under these subcontracts, Patronus and O'Quinn knowingly submitted at least 228

false invoices to Paragon, which, in turn, caused Paragon to submit false claims for payment to

the United States. Both the Patronus invoices to Paragon and the Paragon claims for payment

submitted to the United States were false in that Patronus and O'Quinn knew that the Paragon

Executives controlled Patronus, making Patronus an affiliate of Paragon and an ineligible

subcontractor and that Patronus was paying kickbacks to the Paragon Executives. Ultimately,

the United States paid over $205 million to Paragon on these Paragon contracts, of which over

$11.87 million in federal funds was retained by Patronus:

              (a)     On or about March 18, 2014, Paragon and Patronus signed a subcontract

       for the FPS North Florida contract. O'Quinn signed the subcontract. On March 19, 2014,

       Paragon’s VP BD sought approval of a subcontract between Paragon and Patronus for the

       FPS North Florida contract, claiming that Patronus was a woman-owned and a SDVOB

       company. No disclosure was made of the control of Patronus by the Paragon Executives

       or that Paragon was paying kickbacks to the Paragon Executives. From April 2014 to

       June 2023, Patronus submitted 112 invoices to Paragon totaling over $4.7 million. See

       Appendix B. The false invoices caused Paragon to submit false claims to the United

       States on the FPS North Florida contract that included the amounts for the Patronus

       subcontract.

              (b)     On or about March 4, 2015, Paragon and Patronus signed a subcontract for

       the FPS Alabama contract. O'Quinn signed the subcontract. From May 2015 to July

       2018, Patronus submitted 43 invoices to Paragon totaling over $1.8 million. See



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 Appendix B. The false invoices caused Paragon to submit false claims to the United

 States on the FPS Alabama contract that included the amounts for the Patronus

 subcontract.

        (c)     On May 18, 2018, Paragon’s VP BD sought approval of a subcontract

 between Paragon and Patronus for the FPS Southern Virginia contract, claiming that

 Patronus was a woman-owned and a SDVOB company. No disclosure was made of the

 control of Patronus by the Paragon Executives or that Paragon was paying kickbacks to

 the Paragon Executives. A draft subcontract agreement was prepared in June 2017 for

 the FPS Southern Virginia contract. The services under the Southern Virginia

 subcontract were not provided by Patronus but by ASI, another ineligible subcontractor

 controlled by the Paragon Executives in order to create a work record for ASI. From

 September 2017 to March 2018, Patronus submitted six invoices to Paragon totaling over

 $400,000. See Appendix B. The false invoices caused Paragon to submit false claims to

 the United States on the FPS Southern Virginia contract that included the amounts for the

 Patronus subcontract. The Patronus-Paragon subcontract for the Southern Virginia

 contract was terminated on or about March 31, 2018.

        (d)     On or about August 20, 2019, Paragon and Patronus signed a subcontract

 for the FPS Louisiana contract. O'Quinn signed the subcontract. From September 2019

 to June 2023, Patronus submitted 45 invoices to Paragon totaling over $2.2 million. See

 Appendix B. The false invoices caused Paragon to submit false claims to the United

 States on the FPS Louisiana contract that included the amounts for the Patronus

 subcontract.




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               (e)    On or about August 11, 2021, Paragon and Patronus signed a subcontract

       for the FPS New England contract. O'Quinn signed the subcontract. On August 13,

       2021, Paragon’s VP BD sought approval of a subcontract between Paragon and Patronus

       for the FPS Louisiana contract, claiming that Patronus was a woman-owned and a

       SDVOB company. No disclosure was made of the control of Patronus by the Paragon

       Executives or that Paragon was paying kickbacks to the Paragon Executives. From

       August 2021 to June 2023, Patronus submitted 22 invoices to Paragon totaling over $2.6

       million. See Appendix B. The false invoices caused Paragon to submit false claims to the

       United States on the FPS New England contract that included the amounts for the

       Patronus subcontract.

       51.     Had the United States known of the affiliation and control between Patronus and

Paragon and Patronus’ payment of kickbacks to the Paragon Executives, the United States would

not have paid these claims.

                      2.       Patronus’ Bids on Federal Set Aside Contracts

       52.     Beginning in 2015, Patronus was the prime contractor on three small business set

aside contracts where Paragon served as Patronus’ subcontractor. These contracts were

Indefinite-Delivery Indefinite-Quantity (IDIQ) contracts for Armed Protective Security Officers

in federal buildings in specific geographic regions. All of the contracts were small business set

aside contracts. The prime contracts at issue were:

       (a)     FPS West Virginia (HSHQE3-15-R-00002) from December 1, 2015 to November
               30, 2020;

       (b)     FPS West Virginia (70RFP320DE3000001), from December 1, 2020 to
               November 30, 2025;

       (c)     FPS Eastern Washington and Idaho (HSHQWA-16-D-00002) from December 1,
               2016 to March 31, 2022;

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       (d)     FPS Eastern Washington and Idaho (HSHQWA-16-D-00002) from April 1, 2022
               to March 31, 2027; and

       (e)     FPS Kentucky (70RFP119DE4000001) from July 1, 2019 to June 30, 2024.

       53.     The Patronus bids, including Patronus’ pricing which hid the kickbacks paid to

the Paragon Executives, were prepared by the Paragon Executives and O’Quinn and signed by

O’Quinn. For example, in April 2020, the Proposal Manager at Paragon, sent Patronus’

Technical Submission for Patronus to submit in connection with DHS Request for Proposal

70RFP320DE3000001, including the price submission, which had been prepared by Paragon’s

Contracts Manager. Paragon’s Proposal Manager emailed these documents to O’Quinn,

Paragon’s President and the Paragon VP BD.

       54.     In bidding on each of these set-aside contracts, Patronus and O'Quinn falsely

represented that Patronus was a SDVOSB and a WOSB despite the fact that it was controlled by

Paragon executives to whom it was paying millions in kickbacks. The United States is informed

and believes, and on that basis alleges that, following an internal investigation, Paragon

withdrew as the subcontractor from these contracts in or about September 2023.

       55.     Each of the Patronus prime contracts for West Virginia, Kentucky, and Eastern

Washington and Idaho incorporated compliance with the Anti-Kickback Act, 41 U.S.C. § 8706,

et seq., into the terms of the contracts. The Anti-Kickback Act probits the payment and receipt

of payments in connection with federal contracts. Had Patronus not paid the kickbacks to the

Paragon Executives, they would not have had Paragon assist them in obtaining the contracts and

would not have served as Patronus’ subcontractor. In fact, prior to the kickback payments to the

Paragon Executives, Paragon had done no business with Patronus.




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       56.    In its bids Patronus touted its relationship with Paragon without disclosing

Paragon’s operational control of Patronus or that Patronus and O’Quinn were paying millions in

kickbacks to the Paragon Executives through their shell companies, MCKHU and later Frontline,

Patronus and O'Quinn stated in the Executive Summary of Patronus’ 2015 proposal for the FSP

West Virginia contract:

              Patronus was able to establish a mutually beneficial arrangement
              with Paragon Systems, Inc, a leader in the PSO industry. The
              relationship is already bearing fruit after two successful FPS PSO
              services subcontracts, one in Northern FL and one in AL, in the
              past year.

       57.    Patronus submitted its bid, signed by O'Quinn, on the initial FPS West Virginia

contract on or about May 14, 2015. The FPS West Virginia contract was awarded on or about

September 30, 2015. Patronus submitted its bid on the follow-on contract (contract no.

70RFP320DE3000001) on or about July 29, 2020 and that contract issued on or about August 3,

2020. From January 2016 to May 2023, Patronus submitted 148 invoices totaling over $48.8

million to the United States. See Appendix A.

       58.    Patronus and O'Quinn stated in the Executive Summary of its 2016 proposal for

the FSP Eastern Washington and Idaho (EWAID) contract:

              Patronus has established a mutually beneficial arrangement with
              Paragon Systems, Inc, a leader in the security industry. The
              relationship is already demonstrating success under two Federal
              Protective Service (FPS) PSO services subcontracts (FPS Northern
              Florida and FPS Alabama Statewide) in the past two years.

       59.    Patronus submitted its bid, signed by O'Quinn, on the FPS EWAID contract on or

about January 26, 2016. The FPS EWAID contract was awarded on or about April 8, 2016.

Patronus submitted its bid on the follow-on contract (contract no. 79RFPW21RWA000007) on

or about July 29, 2020 and the contract issued on or about August 3, 2020. From January 2017



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to May 2023, Patronus submitted 212 invoices totaling over $56.8 million to the United States.

See Appendix A.

       60.     Patronus and O'Quinn stated in the Executive Summary of Patronus’ 2018

proposal for the FSP Kentucky proposal:

               This successful and thoughtful relationship has enabled senior
               Patronus leadership to work directly with senior Paragon
               leadership and has resulted in a mutually beneficial arrangement to
               both Patronus, Paragon, and our Government clients.

       61.     Patronus submitted its bid, signed by O'Quinn, on the FPS Kentucky contract on

May 2, 2018. The FPS contract was awarded on or about April 3, 2019. From August 2019 to

May 2023, Patronus submitted 48 invoices totaling over $22.9 million to the United States. See

Appendix A.

       62.     Patronus and O'Quinn knowingly submitted over 400 false invoices to the United

States under its prime contracts with DHS which caused the United States to pay Patronus over

$128 million. Patronus and O'Quinn knew that the Patronus invoices submitted to the United

States were false in that the Paragon Executives controlled Patronus, making Patronus an affiliate

of Paragon and an ineligible subcontractor and that Patronus was paying kickbacks to the

Paragon Executives.

       63.     Had the United States known of the affiliation between Patronus and Paragon and

the payment of kickbacks to the Paragon Executives, the United States would not have awarded

the contracts to Patronus and would not have paid these claims.

               C.     The Paragon Executives’ Control of Patronus

       64.     From 2015 to at least late 2018, the Paragon President and Managers and

O’Quinn’s Spouse controlled Patronus’ finances and operations. They routinely discussed

Patronus’ business without including O’Quinn who was then merely a figurehead. During this

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period of time, O’Quinn’s Spouse and the Paragon Managers exchanged over 200 text messages

which dealt solely with Patronus’ business. Among the business discussions held among the

Paragon President and Managers and O’Quinn’s were Patronus’ payments of distributions to

MCKHU, Patronus’ payments to ASI, another sham small business subcontractor, a substantial

loan from MCKHU to Patronus, and Patronus’ leasing of vehicles.

       65.     O’Quinn was aware that O’Quinn’s Spouse should not be involved in Patronus’

business. In November 2015, O’Quinn emailed a Patronus employee telling her to use a revised

version of a document: “Use this document or change the author of the document on the one you

use (had [O'Quinn’s Spouse’s] name).” Similarly, Quinn’s Spouse also knew he was not

supposed to be involved with Patronus’ business. On March 24, 2022, O’Quinn’s Spouse was

deposed in an unrelated matter. He testified that:

               [My] wife does tell me if she won something.ꞏ Okay? But no
               details. I'm not involved with her business. I don't sit on any
               board. I don't give her advice. It's her business.

       66.     Patronus, O'Quinn, and the Paragon Executives concealed the Paragon

Executives’ control of Patronus through the use of an anonymized email address which did not

include the account holder’s name. In December 2015, O’Quinn’s Spouse created an

anonymous email address -- accounting@patronus.usa – for the use of the Paragon Managers so

that they could communicate with Patronus employees, Paragon employees, Government

representatives, and third parties, such as vendors. without disclosing that two Paragon

executives were operating and controlling Patronus. Later, Patronus set up another similar email

address for Paragon’s Director of Payroll who was working for Patronus as its payroll manager,

at the request of Paragon’s VP Ops.




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       67.     Not only did the Paragon President and Paragon Managers take steps to hide their

involvement in the operations of Patronus, they made false statements about the extent of the

involvement of O’Quinn’s Spouse. On November 9, 2018, after working closely on Patronus-

related matters with O'Quinn’s Spouse for over three years, the Paragon President chastised

Paragon’s insurance broker for copying O'Quinn’s Spouse on emails about Patronus: “Just so

you know, [O’Quinn’s Spouse] has nothing to do with Patronus, please stop sending him things.”

The insurance broker had corresponded extensively with O’Quinn’s Spouse about Patronus’

insurance over the preceding three years and had copied the Paragon President and Paragon

Managers on that correspondence. The United States is informed and believes that the Paragon

President’s email was prompted by the then-pending bid protest against Patronus.

       68.     From the beginning of the scheme, the Paragon Executives took an active role in

handling Patronus’ financial records, including setting up Patronus’ books, revising and

reformatting Patronus’ financial records that were submitted to DHS in connection with bids and

to financial institutions, preparing income tax documents, preparing financial projections, and

using the Paragon President’s long-term Ohio-based accountant to prepare Patronus’ tax returns.

The Paragon President and Managers’ control over Patronus’ finances continued until at least

August 2022, and during this time the Paragon Manager’s regularly provided the Paragon

President with updates on their work for Patronus. Paragon and O’Quinn provided the Paragon

Managers with log-in information and passwords for Paragon’s bank accounts, allowing the

Paragon Managers to access the accounts to pay Patronus bills.

       69.     For example, from November 2016 to April 2021, Patronus had a financial

shortfall which made it unable to make payments to Paragon, which was serving as a

subcontractor on set-aside contract awarded to Patronus. The Paragon Managers suggested that



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O’Quinn withhold payment on a Paragon invoice, which was due in January 2017, until Patronus

received its first payment on a new FPS contract: “Once we get through that period we should

be fine.” The United States is informed and believes that the cause of Patronus’s financial

shortfall was that from November 11, 2016 to April 30, 2017, it paid MCKHU $223,815 and

$272,072 to O’Quinn. These payments rendered Patronus unable to pay its bills as they came

due.

        70.    In early 2016, the Paragon Contracts Manager informed a third-party vendor that

Patronus was his company, “a federal contractor of armed security guards with annual revenues

of $7 million and about 100 employees” and identified both Patronus as Athena [ASI] by name.

Around the same time, the Paragon Contracts Manager also represented to another vendor that he

was the CFO of Patronus.

               D.     Payments to the Paragon Executives

        71.    From at least 2016 to 2023, Patronus paid over $4.6 million to the Paragon

President, the Paragon Managers and, to a lesser extent, the Paragon VP Ops. These payments

constituted kickbacks and demonstrate the control that these Paragon Executives exercised over

Patronus.

                      1.      Payments to Shell Companies Owned and Controlled by the
                              Paragon President and the Paragon Managers

        72.    Between April 2016 and April 2023, when the Patronus, O'Quinn, the Paragon

President, and the Paragon Managers were served with investigatory subpoenas, Patronus paid

MCKHU and Frontline 50 payments over $4.6 million. MCKHU received nearly $2.2 million,

and Frontline received nearly $2.5 million. These payments were disguised as “consulting

payments” to these two shell companies, which, in turn, transferred the funds to the Paragon

President, the Paragon Managers, and, to a lesser extent, other members of their families.

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 Date             Payor         Payee                      Amount
 4/12/2016        Patronus      MCKHU Inc.                   $18,500.00
 7/12/2016        Patronus      MCKHU Inc.                   $22,500.00
 1/23/2017        Patronus      MCKHU Inc.                   $90,000.00
 3/9/2017         Patronus      MCKHU Inc.                  $101,520.55
 3/17/2017        Patronus      MCKHU Inc.                   $32,295.00
 4/5/2017         Patronus      MCKHU Inc.                  $230,000.00
 5/1/2017         Patronus      MCKHU Inc.                   $10,765.00
 5/16/2017        Patronus      MCKHU Inc.                   $10,765.00
 6/8/2017         Patronus      MCKHU Inc.                   $10,765.00
 7/21/2017        Patronus      MCKHU Inc.                   $10,765.00
 8/11/2017        Patronus      MCKHU Inc.                   $10,765.00
 9/15/2017        Patronus      MCKHU Inc.                   $10,745.00
 10/5/2017        Patronus      MCKHU Inc.                   $10,765.00
 11/3/2017        Patronus      MCKHU Inc.                   $10,765.00
 11/24/2017       Patronus      MCKHU Inc.                  $198,720.00
 3/7/2018         Patronus      MCKHU Inc.                  $415,000.00
 3/29/2018        Patronus      MCKHU Inc.                   $41,000.00
 4/27/2018        Patronus      MCKHU Inc.                   $41,000.00
 5/14/2018        Patronus      MCKHU Inc.                   $41,000.00
 5/16/2018        Patronus      MCKHU Inc.                   $10,765.00
 6/11/2018        Patronus      MCKHU Inc.                   $41,000.00
 7/11/2018        Patronus      MCKHU Inc.                   $41,000.00
 8/22/2018        Patronus      MCKHU Inc.                  $108,000.00
 10/1/2018        Patronus      MCKHU Inc.                  $108,000.00
 12/3/2018        Patronus      MCKHU Inc.                  $200,000.00
 4/5/2019         Patronus      MCKHU Inc.                  $361,345.00
 12/30/2019       Patronus      Frontline Source            $498,543.75
 7/7/2020         Patronus      Frontline Source            $189,225.00
 8/19/2020        Patronus      Frontline Source            $198,618.75
 12/22/2020       Patronus      Frontline Source            $193,950.00
 3/4/2021         Patronus      Frontline Source            $189,000.00
 4/7/2021         Patronus      Frontline Source            $111,825.00
 5/6/2021         Patronus      Frontline Source            $129,600.00
 6/3/2021         Patronus      Frontline Source             $63,900.00
 7/1/2021         Patronus      Frontline Source             $62,775.00
 8/2/2021         Patronus      Frontline Source             $69,300.00
 9/2/2021         Patronus      Frontline Source             $67,275.00
 10/1/2021        Patronus      Frontline Source             $67,500.00
 11/5/2021        Patronus      Frontline Source             $69,750.00
 12/3/2021        Patronus      Frontline Source             $69,975.00
 3/17/2022        Patronus      Frontline Source             $59,625.00
 6/13/2022        Patronus      Frontline Source             $58,750.00

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        9/13/2022             Patronus           Frontline Source                   $49,500.00
        10/11/2022            Patronus           Frontline Source                   $48,750.00
        11/9/2022             Patronus           Frontline Source                   $47,250.00
        12/20/2022            Patronus           Frontline Source                   $46,750.00
        1/6/2023              Patronus           Frontline Source                   $45,500.00
        2/27/2023             Patronus           Frontline Source                   $46,000.00
        3/17/2023             Patronus           Frontline Source                   $42,500.00
        4/3/2023              Patronus           Frontline Source                   $41,750.00
                                                                                 $4,655,358.05

       73.     Each of these 50 payments constituted a kickback to the Paragon Executives.

               E.     Payments to Paragon’s VP Operations through his Spouse

       74.     Patronus also paid kickbacks to another Paragon Executive, Paragon’s VP Ops,

disguised as “consulting fees” paid to his spouse, R.B. Initially, on January 1, 2016, R.B., using

her maiden name, which she did not routinely use, emailed O'Quinn and Patronus an invoice for

$11,000 for “WV Transition Management” and “December 2015 Oversight Management.”

Later invoices to Patronus were submitted under the name Grigsby Consulting Services. R.B.

performed no work for Patronus and had no contact with Patronus other than the submission of

monthly invoices from February 2016 to at least March 2023. When Patronus received the initial

invoice, O’Quinn’s Spouse asked Paragon’s President if he concurred in the invoice. Paragon’s

President responded, responded “How is our cash?” (emphasis added), apparently referring to

Patronus’ funds as “our cash.” O’Quinn’s Spouse provided Paragon’s President information

about Patronus’ cash balances and later informed Paragon’s President that he had “[p]aid that

invoice.”

       75      After Patronus paid the initial invoice, Grigsby Consulting sent Patronus another

invoice in February 2016 for $1,000. O’Quinn objected to O’Quinn ‘s Spouse about paying for

more consulting by Paragon’s VP Ops: “Did U agree to have [Paragon’s VP Ops] do more

‘consulting’??? I do not agree.” Every Grigsby Consulting invoice to Patronus stated that R.B.,


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not the VP Ops, was providing “Oversight Management Consulting Services” on the FPS West

Virginia contract. Despite O’Quinn’s objections, Patronus paid Grigsby Consulting via nearly

90 checks to R.B. totaling over $87,000 for the next six years. The payments to Grigsby

Consulting and the Paragon VP Ops were controlled by Paragon’s President, not O’Quinn. If

O'Quinn had actually controlled Patronus, she could have refused to pay any of the invoices for

consulting services to Grigsby Consulting.

       76.     In January 2016, R.B., provided a signed Independent Contractor Agreement to

Patronus and O’Quinn. The agreement listed specific purported duties for R.B., including

reviewing time and attendance records and financials, serving as the chief advisor to the Wet

Virginia contract manager, and advising on operational logistics. R.B. lacked the experience and

skills to perform these services for Patronus. Later, when R.B. was the President of Praetorian

Shield, Inc., another sham protective security officer subcontractor controlled by Paragon, the

Paragon Managers questioned her ability to run that business, describing her as being “in over

her head” at Praetorian Shield.

       77.     In December 2020, O’Quinn again questioned the Paragon Managers why

Patronus was continuing to pay consulting fees to Grigsby Consulting. If O'Quinn had actually

controlled Patronus, she could have cancelled this consulting arrangement without the approval

of the Paragon Managers. The Paragon Managers encouraged O'Quinn to discuss the matter

with R.B. and the Paragon VP Ops, demonstrating that they knew that R.B. was not performing

services for Patronus. The Paragon VP Ops prepared a list of services that Grigsby Consulting

purportedly provided to Patronus, which R.B. forwarded to O'Quinn and Patronus. There

remained no substantive communications between R.B. and Patronus or O'Quinn. Similarly, the

only communications between the Paragon VP Ops and Patronus came through his Paragon



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email account and occurred during regular business hours when he was working in the Paragon

offices. Rather, Patronus was paying Patronus’ VP Ops for work performed at Paragon’s offices

during the normal course of Paragon’s business.

       78.    From January 2016 to April 2023, when the Patronus, O'Quinn, the Paragon

President, and the Paragon Managers were served with investigatory subpoenas, Patronus paid

85 payments to the Paragon VP Ops totally $98,000. These payments were disguised as

“consulting payments” to R.B., using her maiden name, the Paragon VP Ops’ Spouse, many of

which were endorsed to the VP Ops.

        Date                Payor                Payor/Payee              Amount
        2/10/2016    Patronus Systems     Grigsby Consulting              $11,000.00
        3/21/2016    Patronus Systems     Grigsby Consulting               $2,000.00
        4/4/2016     Patronus Systems     Grigsby Consulting               $1,000.00
        6/3/2016     Patronus Systems     Grigsby Consulting               $2,000.00
        7/12/2016    Patronus Systems     Grigsby Consulting               $1,000.00
        8/5/2016     Patronus Systems     Grigsby Consulting               $1,000.00
        9/2/2016     Patronus Systems     Grigsby Consulting               $1,000.00
        10/3/2016    Patronus Systems     Grigsby Consulting               $1,000.00
        11/1/2016    Patronus Systems     Grigsby Consulting               $1,000.00
        12/5/2016    Patronus Systems     Grigsby Consulting               $1,000.00
        1/6/2017     Patronus Systems     Grigsby Consulting               $1,000.00
        2/2/2017     Patronus Systems     Grigsby Consulting               $1,000.00
        3/3/2017     Patronus Systems     Grigsby Consulting               $1,000.00
        4/3/2017     Patronus Systems     Grigsby Consulting               $1,000.00
        5/1/2017     Patronus Systems     Grigsby Consulting               $1,000.00
        6/1/2017     Patronus Systems     Grigsby Consulting               $1,000.00
        7/15/2017    Patronus Systems     Grigsby Consulting               $1,000.00
        8/2/2017     Patronus Systems     Grigsby Consulting               $1,000.00
        9/4/2017     Patronus Systems     Grigsby Consulting               $1,000.00
        10/5/2017    Patronus Systems     Grigsby Consulting               $1,000.00
        11/3/2017    Patronus Systems     Grigsby Consulting               $1,000.00
        12/4/2017    Patronus Systems     Grigsby Consulting               $1,000.00
        1/2/2018     Patronus Systems     Grigsby Consulting               $1,000.00
        2/5/2018     Patronus Systems     Grigsby Consulting               $1,000.00
        3/2/2018     Patronus Systems     Grigsby Consulting               $1,000.00
        4/3/2018     Patronus Systems     Grigsby Consulting               $1,000.00
        5/2/2018     Patronus Systems     Grigsby Consulting               $1,000.00

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 6/5/2018    Patronus Systems   Grigsby Consulting             $1,000.00
 7/2/2018    Patronus Systems   Grigsby Consulting             $1,000.00
 9/3/2018    Patronus Systems   Grigsby Consulting             $2,000.00
 10/5/2018   Patronus Systems   Grigsby Consulting             $1,000.00
 11/2/2018   Patronus Systems   Grigsby Consulting             $1,000.00
 12/5/2018   Patronus Systems   Grigsby Consulting             $1,000.00
 1/3/2019    Patronus Systems   Grigsby Consulting             $1,000.00
 2/5/2019    Patronus Systems   Grigsby Consulting             $1,000.00
 3/4/2019    Patronus Systems   Grigsby Consulting             $1,000.00
 4/2/2019    Patronus Systems   Grigsby Consulting             $1,000.00
 5/4/2019    Patronus Systems   Grigsby Consulting             $1,000.00
 6/3/2019   Patronus Systems    Grigsby Consulting             $1,000.00
 7/1/2019   Patronus Systems    Grigsby Consulting             $1,000.00
 8/1/2019    Patronus Systems   Grigsby Consulting             $1,000.00
 9/5/2019    Patronus Systems   Grigsby Consulting             $1,000.00
 10/4/2019 Patronus Systems     Grigsby Consulting             $1,000.00
 11/11/2019 Patronus Systems    Grigsby Consulting             $1,000.00
 12/2/2019 Patronus Systems     Grigsby Consulting             $1,000.00
 1/2/2020   Patronus Systems    Grigsby Consulting             $1,000.00
 2/6/2020   Patronus Systems    Grigsby Consulting             $1,000.00
 3/2/2020   Patronus Systems    Grigsby Consulting             $1,000.00
 4/1/2020   Patronus Systems    Grigsby Consulting             $1,000.00
 5/8/2020   Patronus Systems    Grigsby Consulting             $1,000.00
 6/2/2020   Patronus Systems    Grigsby Consulting             $1,000.00
 7/2/2020   Patronus Systems    Grigsby Consulting             $1,000.00
 8/4/2020   Patronus Systems    Grigsby Consulting             $1,000.00
 9/2/2020   Patronus Systems    Grigsby Consulting             $1,000.00
 10/5/2020 Patronus Systems     Grigsby Consulting             $1,000.00
 11/2/2020 Patronus Systems     Grigsby Consulting             $1,000.00
 12/3/2020 Patronus Systems     Grigsby Consulting             $1,000.00
 1/6/2021   Patronus Systems    Grigsby Consulting             $1,000.00
 2/2/2021   Patronus Systems    Grigsby Consulting             $1,000.00
 3/2/2021   Patronus Systems    Grigsby Consulting             $1,000.00
 4/2/2021   Patronus Systems    Grigsby Consulting             $1,000.00
 5/3/2021   Patronus Systems    Grigsby Consulting             $1,000.00
 6/3/2021    Patronus Systems   Grigsby Consulting             $1,000.00
 7/2/2021    Patronus Systems   Grigsby Consulting             $1,000.00
 8/4/2021    Patronus Systems   Grigsby Consulting             $1,000.00
 9/2/2021    Patronus Systems   Grigsby Consulting             $1,000.00
 10/5/2021 Patronus Systems     Grigsby Consulting             $1,000.00
 11/2/2021 Patronus Systems     Grigsby Consulting             $1,000.00
 12/2/2021 Patronus Systems     Grigsby Consulting             $1,000.00
 1/5/2022    Patronus Systems   Grigsby Consulting             $1,000.00

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        2/3/2022      Patronus Systems    Grigsby Consulting                 $1,000.00
        3/3/2022      Patronus Systems    Grigsby Consulting                 $1,000.00
        4/1/2022      Patronus Systems    Grigsby Consulting                 $1,000.00
        5/4/2022      Patronus Systems    Grigsby Consulting                 $1,000.00
        6/6/2022      Patronus Systems    Grigsby Consulting                 $1,000.00
        7/5/2022      Patronus Systems    Grigsby Consulting                 $1,000.00
        8/4/2022      Patronus Systems    Grigsby Consulting                 $1,000.00
        9/6/2022      Patronus Systems    Grigsby Consulting                 $1,000.00
        10/7/2022     Patronus Systems    Grigsby Consulting                 $1,000.00
        11/11/2022    Patronus Systems    Grigsby Consulting                 $1,000.00
        12/5/2022     Patronus Systems    Grigsby Consulting                 $1,000.00
        1/26/2023     Patronus Systems    Grigsby Consulting                 $1,000.00
        2/6/2023      Patronus Systems    Grigsby Consulting                 $1,000.00
        3/2/2023      Patronus Systems    Grigsby Consulting                 $1,000.00
        4/4/2023      Patronus Systems    Grigsby Consulting                 $1,000.00
                                                                            $98,000.00

       79.     Each of these 85 payments constituted a kickback to the Paragon VP Ops.

       F.      Paragon’s Payroll Director was also Patronus’ Payroll Director

       80.     Paragon also exercised control over Patronus by having Paragon’s Payroll

Director work as Patronus’s Payroll Director from October 2016 until 2023. The Payroll

Director worked for Patronus at the request of Paragon’s VP Ops and was paid over $112,000 by

Patronus. The Payroll Director’s work for Patronus further demonstrates the control of Patronus

by the Paragon Executives.

       81.     In both her Paragon job and her Patronus job, the Payroll Director worked closely

with the Paragon Managers and knew that they were working for Patronus as consultants. The

Payroll Director knew that the Paragon Managers used an anonymized Patronus email address --

accounting@Patronus.com. The Payroll Director also used an anonymized Patronus email

address – payroll@patronususa.com – to conduct her business on behalf of Patronus, often while

at her desk at Paragon.




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       82.     The Payroll Director did not want other Paragon employees to know she was also

working as Patronus’ Payroll Director. The Payroll Director told Patronus employees not to send

Patronus payroll emails to her Paragon email account or to her personal Gmail account.

Similarly, O’Quinn told employees of Patronus’ payroll company, Valiant, not to use the Payroll

Director’s Paragon email address to communicate about her work at Patronus.

       83.     The Payroll Director continued to work for Patronus until at least March 2023,

interviewing candidates for employment and preparing payroll. She performed her Patronus

work from Paragon’s offices during Paragon’s regular business hours.

       G.      The Patronus – Paragon Failed Joint Venture

       84.     On June 11, 2018, FPS issued Request for Proposal (RFP) for protective security

officers for certain federal buildings located in New Jersey. Defendant PSP was incorporated on

July 12, 2018 by O’Quinn to bid on the FPS New Jersey contract. On August 6, 2018, PSP

submitted a bid for the FSP New Jersey contract. O’Quinn and the Paragon President signed the

Joint Venture Agreement dated “July 17, 2018;” however, the document was backdated and, in

fact, it was signed three months later after a bid protest was filed against PSP.

       85.     On October 16, 2018, a bid protest was submitted against PSP based on size,

alleging that Patronus was an affiliate of Paragon based on, inter alia, A.D’s roles as a director of

Patronus and the wife of the Paragon President. The bid protest contained no allegations about

the millions of dollars that Patronus was paying to the Paragon President and the Paragon

Managers, as these facts were unknown to the protestor.

       86.     On October 18, 2018, two days after the bid protest was filed, the Paragon VP BD

sent O’Quinn the Paragon-PSP joint venture agreement. On October 19, 2018, O’Quinn




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responded that she was just in the process of signing it. Paragon and Patronus never prepared or

signed a joint venture agreement until after the bid protest was filed against them.

       87.     In Paragon and Patronus’ opposition to the bid protest, Patronus and O’Quinn did

not disclose the millions of dollars that Patronus paid to Paragon executives or the control of

Patronus’ business by the Paragon Executives. Both O'Quinn and the Paragon President certified

that the information in the bid protest response was accurate. On November 3, 2018, PSP lost

the bid protest nonetheless. By then end of November, O'Quinn dissolved PSP.

       88.     As a result of the bid protest, the Paragon Executives memorialized fewer

communications with O’Quinn’s Spouse and memorialized a greater number of communications

with O’Quinn herself. O’Quinn continued to rely on the Paragon Managers to perform nearly all

back office services for Patronus.

       89.     On October 26, 2018, a former Paragon employee sent an email about the small

business subcontracting scheme at Paragon which was ultimately forwarded to O'Quinn’s Spouse

and later the Paragon President which detailed the connections between the Paragon President

and the O’Quinn’s. Mr. Wagner’s email did not address the involvement of the Paragon

Managers, who were the adult sons of the Paragon President, in the operation of Patronus’

business or Patronus’ payments of million to shell companies owned by the Paragon President

and the Paragon Managers. Mr. Wagner wrote: “So, you have Patronus – with [O’Quinn’s

Spouse] getting access and doing side deals with Paragon while his wife [O'Quinn] is part owner

with [the Paragon President’s] wife and winning contracts without any past performance . . . .”

Co-workers of O'Quinn’s Spouse forwarded Mr. Wagner’s email to O’Quinn’s Spouse, noting

“This is everywhere.”




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               G.     Patronus’ PPP Fraud

       90.     In or about April 2020, O'Quinn and the Paragon Managers decided to seek a PPP

loan for Patronus. O'Quinn signed the application on or about April 6, 2020, and on May 4,

2020, Patronus received $1,828,713 in PPP funds.

       91.     After the PPP loan was funded, Frontline, a shell company which funneled funds

to the Paragon President and the Paragon Managers, received: (a) $189,225 on July 6, 2020; (b)

$198,618 on August 18, 2020; (c) $193,950 on November 1, 2020; and (d) $189,000 on

December 31, 2020. PPP loan funds could not be use to pay third-party consultants such as

Frontline purported to be. All payments were made from the same account where Patronus

deposited the PPP funds – Patronus Account No. X5524.

       92.     In the same month when the PPP loan was funded, O’Quinn increased her own

personal monthly distributions from $2,000 to $7,600 in June and July 2020. In July 2020, Ms.

O’Quinn again increased her monthly distributions to $40,0000 where they remained through

2021. All payments were made from the same account where Patronus deposited the PPP funds

– Patronus Account No. X5524.

       93.     On February 19, 2021, Patronus applied for SBA loan forgiveness on its PPP

loan. O’Quinn signed the PPP loan forgiveness application on behalf of Patronus. In doing so,

Patronus, through O’Quinn, expressly and impliedly certified that Patronus had complied with all

applicable PPP rules relating to the use of PPP funds, including that at least 60% of the proceeds

were used to pay Patronus employees. On April 4, 2021, Patronus’ PPP loan was forgiven in

full. Beginning that month, Frontline received additional payments: (a) $111,825 on April 7,

2021; and (b) $129,000 on May 6, 2021. All payments were made from the same account where

Patronus deposited the PPP funds – Patronus Account No. X5524.



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       94.     On December 6, 2021, the Paragon Managers informed O’Quinn that she had

$844,078 in equity in Patronus than MCKHU/Frontline had taken due to the forgiveness of

Patronus’ PPP loan. The Paragon Managers asked O’Quinn is she wanted to adjust her salary,

saying “It doesn’t really make any difference to us, other than the impact of cash flow but with

the addition of Maine pre-billing [which was part of the Paragon New England subcontract with

Patronus] we have a but more liquidity.” On December 6, 2021, O’Quinn forwarded the email to

Paragon’s President, who responded only to her on December 7, 2021: “oh my[.] This is cash . .

. [O’Quinn’s mother-in-law and Paragon’s bookkeeper] did not say you have 800k on [the]

books that is your[s] to take??” On February 14, 2022, Patronus paid $300,035 to O’Quinn.

       95.     On December 7, 2021, the Paragon Managers emailed O’Quinn asking “So how

do we get our share of the equity, specifically the PPP?” O’Quinn responded: “We decide at the

end of each year how much can be pulled for each of us. We leave enough money so we can still

operate.” The Paragon Managers responded, “We are trying to spread things evenly rather than

in big spikes. We should have a call to go over. I think there’s a fundamental disconnection on

the accounting for an owner versus vendor.” After that point, Patronus began paying Frontline

approximately $66,000 per month instead of large payments at then end of each year.

                                      COUNT I
                        VIOLATION OF THE FALSE CLAIMS ACT
                               31 U.S.C. § 3729(a)(1)(A)
                             AGAINST ALL DEFENDANTS

       96.     The United States re-alleges and incorporates by reference paragraphs 1 through

95 as though fully set forth herein.

       97.     By virtue of the wrongful acts described herein, from at least 2014 through the

present, all Defendants, with actual knowledge, reckless disregard, or deliberate ignorance,

presented, or caused to be presented, to the United States false or fraudulent claims for payment

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in violation of 31 U.S.C. § 3729(a)(1 )(A). These claims were submitted by Patronus and

O'Quinn in connection with Patronus’ FPS Kentucky, FPS West Virginia, and FPS Eastern

Washington & Idaho contracts and Paragon’s FPS North Florida, FPS New England, FPS

Louisiana, and FPS Alabama contracts.

       98.     These claims were false in that:

               (a)    In bids to the United States, Patronus and O’Quinn falsely described

       Patronus’ small business status without disclosing that the Paragon Executives controlled

       Patronus and without disclosing that Patronus and O'Quinn were paying the Paragon

       Executives millions in kickbacks in violation of federal law, making Patronus an affiliate

       of Paragon and, thus ineligible to bid on the small business set-aside contracts, including

       but not limited to FPS Kentucky, FPS West Virginia, and FPS Eastern Washington &

       Idaho contracts;

               (b)    The control of Patronus by the Paragon Executives and the payment of

       kickbacks to the Paragon Executives tainted all claims for payment submitted by

       Patronus on its small business set-aside contracts, including but not limited to FPS

       Kentucky, FPS West Virginia, and FPS Eastern Washington & Idaho contracts; and

               (c)    The control of Patronus by the Paragon Executives and the payment of

       kickbacks to the Paragon Executives caused Paragon to submit false claims for payment

       under its contracts where Patronus served as a subcontractor, including but not limited to

       Paragon’s FPS North Florida, FPS New England, FPS Louisiana, and FPS Alabama

       contracts.

       99.     Additionally, the conduct of O'Quinn and Patronus fraudulently induced the

United States to enter into small business set-aside contracts with Patronus. Specifically,



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O'Quinn and Patronus’ false representations of Patronus’ small business status and their failure

to disclose the control of Patronus by the Paragon Executives and Patronus’ payment of

kickbacks to the Paragon Executives fraudulently induced the United States to enter into small

business set-aside contracts with Patronus, including but not limited to FPS Kentucky, FPS West

Virginia, and FPS Eastern Washington & Idaho contracts.

       100.    The United States relied on 411 fraudulent invoices and claims for payment

submitted by Patronus and O'Quinn, in paying Patronus $128 million.

       101.    The United States relied on 352 fraudulent invoices and claims for payment

submitted by Paragon, which Patronus and O'Quinn caused to be submitted, in paying Paragon,

over $205 million of which $11.8 million was paid to Patronus. Patronus submitted 228 false

invoices to Paragon.

       102.    From claims submitted as a prime contractor and as a subcontractor to Paragon,

Patronus received a total of $140 million to which it was not legally entitled. Patronus and

O’Quinn submitted 228 invoices to Paragon as a subcontractor and 411 invoices submitted to the

United States as a prime contractor, for a total of 639 false claims.

       103.    The false representations, invoices, records, statements, reports, and certifications

described herein were material to the United States’ decision to pay Paragon and Patronus and

had a natural tendency to influence and did influence those payment decisions. Had the United

States known of the false claims for payment, it would not have paid the invoices.

       104.    The false representations, records, statements, reports, and certifications described

herein were material to the United States’ decision to enter into small business set-aside contracts

with Patronus and had a natural tendency to influence and did influence those contracting




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decisions. Had the United States known of the false representations, it would not have entered

into the contracts or paid any of the invoices under the contracts.

       105.    Payment of the false and fraudulent claims was a reasonable and foreseeable

consequence of Defendants’ conduct.

       106.    As a result of the false claims presented, and/or caused to be presented, the United

States has suffered actual damages in the amount of at least $140 million and is entitled to

recover three times the amount by which it has been damaged, plus civil money penalties as

described in Paragraph 15 above, and other monetary relief as appropriate.

       107.    On or about April 14, 2020, Patronus and O'Quinn submitted an application for a

PPP loan. On May 4, 2020, Patronus received $1,828,713 in PPP funds. On April 4, 2021,

Patronus’ PPP loan was forgiven.

       108.    The bulk of Patronus’ PPP loan was used to pay bogus consulting fees to

Frontline, which were kickbacks, and to pay substantial distributions to O’Quinn. These were

not legitimate uses for PPP funds.

       109.    Patronus’ application for PPP loan forgiveness was a false claim which resulting in

a loss to SBA totaling more than $1,828,713. Had SBA known the facts described above, the

United States would not have paid, forgiven, or provided guarantees on the Patronus SBA loan.

       110.    As a result of the false claims presented, and/or caused to be presented, the United

States has suffered actual damages in the amount of at least $1,828,713 for the PPP loan and its

forgiveness and is entitled to recover three times the amount by which it has been damaged, plus

civil money penalties as described in Paragraph 15 above, and other monetary relief as appropriate.




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                                       COUNT II
                         VIOLATION OF THE FALSE CLAIMS ACT
                                31 U.S.C. § 3729(a)(1)(B)
                              AGAINST ALL DEFENDANTS

       111.    The United States re-alleges and incorporates by reference paragraphs 1 through

95 as though fully set forth herein.

       112.    By virtue of the wrongful acts described herein, from 2014 through the present,

all Defendants, with actual knowledge, reckless disregard, or deliberate ignorance, made, used,

and/or caused to be made or used, false records, statements, and certifications material to false or

fraudulent claims in violation of 31 U.S.C. § 3729(a)(1)(b). In particular, Defendants made,

used, and caused to be made or used, false records, statements, and certifications in the invoices

and accompanying documentation of Patronus and Paragon that were submitted to the United

States. These false representations included O’Quinn and Patronus’ false representations of

Patronus’ small business status and the failure to disclose the payment of kickbacks to the

Paragon Executives. The false representations also caused Paragon to make false statements to

the United States concerning Patronus’ small business status.

       113.    The United States relied on these fraudulent records, statements, and certifications

in paying Patronus and Paragon, which resulted in the payment of over $140 million to Patronus,

to which it was not legally entitled.

       114.    The false representations, records, statements, reports, and certifications described

herein were material to United States’ decision to provide pay Patronus and Paragon and had a

natural tendency to influence and did influence those decisions.

       115.    Payment of the false and fraudulent claims was a reasonable and foreseeable

consequence of Defendants’ conduct.




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       116.    As a result of these false records, statements, reports, and certifications, the

United States has suffered actual damages and is entitled to recover three times the amount by

which it has been damaged, plus 639 civil money penalties as described in Paragraph 15 above ,

and other monetary relief as appropriate.

       117.    On or April 14 2020, Patronus and O'Quinn submitted an application for a PPP

loan. On May 4, 2020, Patronus received $1,828,713 in PPP funds. On April 4, 2021, Patronus’

PPP loan was forgiven by SBA.

       118.    The bulk of Patronus’ PPP loan was used to pay bogus consulting fees to

Frontline, which were kickbacks and to pay massive distributions to O’Quinn. These were not

legitimate uses for PPP funds.

       119.    Patronus’ application for PPP loan forgiveness was a false claim which resulting in

a loss to SBA totaling more than $1,828,713. Had SBA known the facts described above, the

United States would not have paid, forgiven, or provided guarantees on the Patronus SBA loan.

       120.    As a result of the false representations, records, statements, reports, and

certifications, the United States has suffered actual damages in the amount of at least $1,828,713

for the PPP loan and its forgiveness and is entitled to recover three times the amount by which it

has been damaged, plus civil money penalties as described in Paragraph 15 above, and other

monetary relief as appropriate,

                                     COUNT III
                        VIOLATION OF THE FALSE CLAIMS ACT
                               31 U.S.C. § 3729(a)(1)(C)
                             AGAINST ALL DEFENDANTS

       121.    The United States re-alleges and incorporates by reference paragraphs 1 through

95 as though fully set forth herein.




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       122.   All defendants participated in a conspiracy to get false and fraudulent claims paid

by the United States. No later than April 15, 2015, O'Quinn and Patronus entered into a

conspiracy with the Paragon President and Paragon Manager, acting through their shell

company, MCKHU, for the Paragon Executives to control and operate Patronus and for Patronus

to pay kickbacks from Patronus’ profits in return for Patronus being awarded Paragon

subcontracts These kickbacks were disguised as consulting payments to MCKHU. The

conspiracy included the preparation and submission of false bids and false claims to the United

States by Patronus, O'Quinn, and the Paragon executives in connection with Patronus’ prime

contracts and causing Paragon to submit false claims to the United States in connection with

Paragon’s prime contracts where Patronus served as a subcontractor. In January 2016, the

conspiracy expanded when the Paragon President instructed Paragon and O'Quinn’s spouse to

pay additional kickbacks to the spouse of the Paragon Vice President Ops. O'Quinn joined the

conspiracy in early 2016 which she agreed that Patronus would make the payments, which were

again disguised as kickback payments.

       123.   These claims were false in that:

              (a)     In bids to the United States, Patronus and O’Quinn falsely described

       Patronus’ small business status without disclosing that the Paragon Executives controlled

       Patronus and without disclosing that Patronus and O'Quinn were paying the Paragon

       Executives millions in kickbacks in violation of federal law, making Patronus an affiliate

       of Paragon and, thus ineligible to bid on the small business set-aside contracts, including

       but not limited to FPS Kentucky, FPS West Virginia, and FPS Eastern Washington &

       Idaho contracts;




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               (b)    The control of Patronus by the Paragon Executives and the payment of

       kickbacks to the Paragon Executives tainted all claims for payment submitted by

       Patronus on its small business set-aside contracts, including but not limited to FPS

       Kentucky, FPS West Virginia, and FPS Eastern Washington & Idaho contracts; and

               (c)    The control of Patronus by the Paragon Executives and the payment of

       kickbacks to the Paragon Executives caused Paragon to submit false claims for payment

       under its contracts where Patronus served as a subcontractor, including but not limited to

       Paragon’s FPS North Florida, FPS New England, FPS Louisiana, and FPS Alabama

       contracts.

       124.    The United reasonably States relied on these fraudulent records, statements, and

certifications in paying Patronus and Paragon, which resulted in the direct and indirect payment

of over $140 million to which Patronus was not legally entitled.

       125.    The false representations, records, statements, reports, and certifications described

herein were material to United States’ decision to provide pay Patronus and Paragon and had a

natural tendency to influence and did influence those decisions.

       126.    Payment of the false and fraudulent claims was a reasonable and foreseeable

consequence of Defendants’ conduct.

       127.    As a result of these false records, statements, reports, and certifications, the

United States has suffered actual damages and is entitled to recover three times the amount by

which it has been damaged, , plus 639 civil money penalties as described in Paragraph 15 above ,

and other monetary relief as appropriate.

       128.    On or about April 3, 2020, Patronus, O'Quinn and the Paragon Managers entered

into an agreement to obtain a PPP loan to pay massive payments to O'Quinn and the Paragon



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Manager’s shell company, Frontline. On April 14, 2020, Patronus and O'Quinn submitted an

application for a PPP loan. On May 4, 2020, Patronus received $1,828,713 in PPP funds. On

April 4, 2021, Patronus’ PPP loan was forgiven by SBA.

       129.    The bulk of Patronus’ PPP loan was used to pay bogus consulting fees to

Frontline, which were kickbacks. and to pay massive distributions to O’Quinn. These were not

legitimate uses for PPP funds.

       130.    Patronus’ application for PPP loan forgiveness was a false claim which resulting in

a loss to SBA totaling more than $1,828,713. Had SBA known the facts described above, the

United States would not have paid or forgiven the Patronus SBA loan.

       131.    As a result of the false claims presented, and/or caused to be presented, the United

States has suffered actual damages in the amount of at least $1,828,713 for the PPP loan and its

forgiveness and is entitled to recover three times the amount by which it has been damaged, plus

civil money penalties as described in Paragraph 15 above, and other monetary relief as

appropriate.

                                   COUNT IV
                     VIOLATION OF THE ANTI-KICKBACK ACT
                              41 U.S.C. § 8706(a)(1)
                            AGAINST DEFENDANTS
                   MABEL O’QUINN AND PATRONUS SYSTEMS INC.

       132.    The United States re-alleges and incorporates by reference paragraphs 1 through

95 as though fully set forth herein.

       133.    From at least January 2015 to August 2023, O'Quinn and Patronus knowingly

paid at least 50 kickback payments totaling over $4.6 million to shell companies, including but

not limited to MCKHU and/or Frontline, which were owned and/or controlled by the Paragon

President and/or the Paragon Managers, and/or other members of their families, in return for



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receiving Paragon subcontracts, including but not limited to Paragon’s FPS North Florida, FPS

New England, FPS Louisiana, and FPS Alabama contracts and/or for Paragon’s assistance in

obtaining and performing set-aside contracts in Patronus’ name, including but not limited to

Patronus’ FPS Kentucky, FPS West Virginia, and FPS Eastern Washington & Idaho contracts.

       134.    From at least January 2016 to August 2023, O'Quinn and Patronus knowingly

paid at least 85 kickback payments totally approximately $89,000 to the spouse of the Paragon

VP Ops in return for receiving Paragon subcontracts, including but not limited to Paragon’s FPS

North Florida, FPS New England, FPS Louisiana, and FPS Alabama contracts and/or for

Paragon’s assistance in obtaining and performing set-aside contracts in Patronus’ name,

including but not limited to Patronus’ FPS Kentucky, FPS West Virginia, and FPS Eastern

Washington & Idaho contracts.

       135.    From at least January 2015 to August 2023, O'Quinn and Patronus knowingly

included the amount of the kickbacks paid directly or indirectly to the Paragon President, the

Paragon Managers, and the Paragon Vice President Ops in both the contract prices that Patronus

charged Paragon when Patronus served as Paragon’s subcontractor and/or when in the contract

prices Patronus, as a prime contractor, charged the Federal government. O’Quinn signed all

Patronus bids submitted to the United States for prime contracts.

       136.    O'Quinn and Patronus acted knowingly when paying the kickbacks and including

the amount of the kickbacks in Patronus’ bids and contracts for prime contracts and in its

subcontracts with Paragon.

       137.    The Anti-Kickback Act was incorporated into Patronus’ FPS Kentucky, FPS West

Virginia, and FPS Eastern Washington & Idaho contracts and Anti-Kickback Act was




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incorporated into Paragon’s FPS North Florida, FPS New England, FPS Louisiana, and FPS

Alabama contracts where Patronus served as a subcontractor.

       138.    As a result of O'Quinn and Patronus’ knowing payment of 135 kickbacks to the

Paragon President, the Paragon Managers, and the Paragon Vice President Ops which totaled

over $4.6 million, the United States is entitled to recover twice the amount of each kickbacks

involved and a penalty of $27,894 for each occurrence.

                                   COUNT V
                     VIOLATION OF THE ANTI-KICKBACK ACT
                              41 U.S.C. § 8706(a)(2)
                            AGAINST DEFENDANTS
                   MABEL O’QUINN AND PATRONUS SYSTEMS INC.

       139.    The United States re-alleges and incorporates by reference paragraphs 1 through

95 as though fully set forth herein.

       140.    From at least January 2015 to August 2023, O'Quinn and Patronus paid at least 50

kickback payments totaling over $4.6 million to shell companies, including but not limited to

MCKHU and/or Frontline which were owned and/or controlled by the Paragon President and/or

the Paragon Managers, and/or other members of their families in return for receiving Paragon

subcontracts, including but not limited to Paragon’s FPS North Florida, FPS New England, FPS

Louisiana, and FPS Alabama contracts and/or for Paragon’s assistance in obtaining and

performing set-aside contracts in Patronus’ name, including but not limited to Patronus’ FPS

Kentucky, FPS West Virginia, and FPS Eastern Washington & Idaho contracts.

       141.    From at least January 2016 to August 2023, O'Quinn and Patronus paid at least 85

kickback payments totally approximately $89,000 to the spouse of the Paragon VP Ops in return

for receiving Paragon subcontracts, including but not limited to Paragon’s FPS North Florida,

FPS New England, FPS Louisiana, and FPS Alabama contracts and/or for Paragon’s assistance



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in obtaining and performing set-aside contracts in Patronus’ name, including but not limited to

Patronus’ FPS Kentucky, FPS West Virginia, and FPS Eastern Washington & Idaho contracts.

       142.    From at least January 2015 to August 2023, O'Quinn and Patronus included the

amount of the kickbacks paid directly or indirectly to the Paragon President, the Paragon

Managers, and the Paragon Vice President Ops in both the contract prices that Patronus changed

Paragon when Patronus served as Paragon’s subcontractor and/or when in the contract prices

Patronus, as a prime contractor, charged the federal government. O’Quinn signed all Patronus

bids submitted to the United States for prime contracts.

       143.    The Anti-Kickback Act was incorporated into Patronus’ FPS Kentucky, FPS West

Virginia, and FPS Eastern Washington & Idaho contracts and Anti-Kickback Act was

incorporated into Paragon’s FPS North Florida, FPS New England, FPS Louisiana, and FPS

Alabama contracts where Patronus served as a subcontractor.

       144.    As a result of O'Quinn and Patronus’ payment of 135 kickbacks to the Paragon

President, the Paragon Managers, and the Paragon Vice President Ops which totaled over $4.6

million, the United States is entitled to recover a penalty equal to the amount of each kickback.

                                        COUNT VI
                                  PAYMENT BY MISTAKE
                                   AGAINST DEFENDANT
                                 PATRONUS SYSTEMS, INC.

       145.    The United States re-alleges and incorporates by reference paragraphs 1 through

95 as though fully set forth herein.

       146.    This is a common law claim by the United States to recover payments made by

the United States to Patronus based on a mistake of fact. This Court has jurisdiction to adjudicate

this claim pursuant to 28 U.S.C. § 1345.




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       147.    By virtue of the wrongful acts described herein, from 2015 through the present,

Patronus obtained and kept Federal funds to which it was not entitled that were paid based on a

mistake of fact by the United States. Specifically, the United States was unaware that:

               (a)    Patronus was an affiliate of Paragon due to the control of Patronus by the

       Paragon Executives which rendered all claims for payment to the United States by

       Patronus as a prime contractor false and all claims for payment to Paragon by Patronus as

       a subcontractor to Paragon false, which caused Paragon to submit false claims for

       payment to the United States and to make false statements to the United States; and

               (b)    Patronus and O'Quinn were paying kickbacks to the Paragon Executives,

       including but not limited to the Paragon President, the Paragon Managers, and the

       Paragon VP Ops, which rendered all claims for payment to the United States by Patronus

       as a prime contractor false and all claims for payment to Paragon by Patronus as a

       subcontractor to Paragon false, which caused Paragon to submit false claims for payment

       to the United States and to make false statements to the United States; and

               (c)    Patronus and O'Quinn received forgiveness of a PPP loan for $1,828,713

       which was used to pay distributions and kickbacks to the Paragon President, the Paragon

       Managers, and the Paragon Vice President Ops, which were not legitimate uses for PPP

       loan funds.

               148.    Based on the foregoing, the United States mistakenly paid over $141

       million to Patronus for tainted services and forgiven PPP loan funds, and the

       circumstances dictate that, in equity and good conscience, the amount of these payments

       should be returned to the United States.




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               149.    Had the United States known the facts described above, the United States

       would not have paid such claims.

                                       COUNT VII
                                  UNJUST ENRICHMENT
                                AGAINST ALL DEFENDANTS

       150.    The United States re-alleges and incorporates by reference paragraphs 1 through

95 as though fully set forth herein.

       151.    This is a claim by the United States for unjust enrichment under the common law

arising from the unjust receipt of federal funds by Patronus and O'Quinn while engaged in the

illegal conduct described herein. This Court has jurisdiction to adjudicate this claim pursuant to

28 U.S.C. § 1345.

       152.    By virtue of the wrongful acts described herein, from 2015 through the present,

Defendants Patronus and O'Quinn directly or indirectly obtained federal funds by which they

were unjustly enriched. Specifically, the United States was unaware that:

               (a)     Patronus was an affiliate of Paragon due to the control of Patronus by the

       Paragon Executives which rendered all claims for payment to the United States by

       Patronus as a prime contractor false and all claims for payment to Paragon by Patronus as

       a subcontractor to Paragon false, which caused Paragon to submit false claims for

       payment to the United States and to make false statements to the United States; and

               (b)     Patronus and O'Quinn were paying kickbacks to the Paragon Executives,

       including but not limited to the Paragon President, the Paragon Managers, and the

       Paragon VP Ops, which rendered all claims for payment to the United States by Patronus

       as a prime contractor false and all claims for payment to Paragon by Patronus as a

       subcontractor to Paragon false, which caused Paragon to submit false claims for payment



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       to the United States and to make false statements to the United States; and (c)

               Patronus and O'Quinn received forgiveness of a PPP loan for $1,828,713 which

       was used to pay distributions and kickbacks to the Paragon President, the Paragon

       Managers, and the Paragon Vice President Ops, which were not legitimate uses for PPP

       loan funds. Had SBA known the facts described above, the United States would not have

       paid, forgiven, or provided guaranties on such claims.

       153.    Based on the foregoing, Patronus and O'Quinn have been unjustly enriched, and

the circumstances dictate that, in equity and good conscience, the money should be returned to

the United States.

                                    PRAYER FOR RELIEF

       WHEREFORE, the United States demands and prays that judgment be entered in its

favor and against Defendants, jointly and severally, as follows:

       1.      On Counts I - III, under the False Claims Act, 31 U.S.C. 3729 et seq., against all

Defendants for treble the amount of the United States' actual damages, plus civil penalties as are

allowable by law for each false claim or record;

       3.      On Count IV, under the Anti-Kickback Act, 41 U.S.C. § 8706(a)(1), against all

Defendants for double the amount of the kickbacks paid, plus civil penalties as are allowable by

law for reach kickback payment;

       4.      On Count V, under the Anti-Kickback Act, 41 U.S.C. § 8706(a)(2), against all

Defendants for civil penalties in the amount of the kickbacks paid as are allowable by law for

reach kickback payment;

       5.      On Count VI for payment by mistake against Patronus, for the amount paid to

Patronus by the United States plus interest;



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       6.     On Count VII for unjust enrichment against all Defendants for the amounts by

which the Defendants were unjustly enriched, plus interest;

       7.     For all costs of this civil action; and

       8.     For such further relief as the Court deems just and proper.

                                DEMAND FOR JURY TRIAL

       The United States demands a jury trial in this case.

                                              Respectfully submitted,

Dated: November 5, 2024
                                              BRIAN M. BOYNTON
                                              Principal Deputy Assistant Attorney General
                                              Civil Division

                                              EREK L. BARRON
                                              United States Attorney
                                              District of Maryland


                                              By: _______________________________
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                                  DEMAND FOR A JURY TRIAL

       The United States demands a trial by jury of all issues so triable pursuant to Rule 38 of

the Federal Rules of Civil Procedure.

                                             Respectfully submitted,

Dated: November 5, 2024
                                             BRIAN M. BOYNTON
                                             Principal Deputy Assistant Attorney General
                                             Civil Division

                                             EREK L. BARRON
                                             United States Attorney
                                             District of Maryland


                                             By: _______________________________
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             APPENDIX A -- PARAGON PRIME CONTRACT INVOICES


FPS Kentucky                                7/13/2022    KY-041      $566,327.43
70RFP119DE4000001                           8/19/2022    KY-042      $571,772.31
    Date     Invoice No.   Amount           9/21/2022    KY-043      $646,410.17
8/14/2019      KY-001      $550,915.29      9/22/2022    KY-044       $24,680.19
9/11/2019      KY-002      $546,204.11      10/17/2022   KY-045      $591,255.37
10/17/2019     KY-003      $494,396.47      11/11/2022   KY-046      $569,494.39
11/14/2019     KY-004      $536,518.94      12/12/2022   KY-047      $561,156.94
12/27/2019     KY-005      $462,222.90      1/12/2023    KY-048      $581,591.22
1/13/2020      KY-006      $494,589.12      2/11/2023    KY-049      $575,752.80
2/12/2020      KY-007      $518,163.14      3/10/2023    KY-050      $548,684.02
4/1/2020       KY-008      $484,213.17      4/13/2023    KY-051      $658,153.24
4/20/2020      KY-009      $505,939.59      5/11/2023    KY-052      $582,730.15
5/15/2020      KY-010      $414,556.99                            $22,900,973.78
6/16/2020      KY-011      $399,597.07
7/21/2020      KY-012      $414,507.10
8/21/2020      KY-013      $424,777.83
9/19/2020      KY-014      $403,483.25
10/26/2020     KY-015      $404,893.23
10/20/2020     KY-016       $25,237.99
11/13/2020     KY-017      $409,118.16
12/11/2020     KY-018      $363,881.10
1/13/2021      KY-019      $388,985.52
2/12/2021      KY-020      $358,459.20
3/9/2021       KY-021      $325,917.57
4/15/2021      KY-022      $433,066.59
5/12/2021      KY-023      $416,054.10
6/19/2021      KY-024      $408,238.38
7/14/2021      KY-025      $456,268.23
8/21/2021      KY-026      $460,703.42
10/4/2021      KY-027      $493,311.21
9/14/2021      KY-028       $11,220.25
10/13/2021     KY-029      $464,132.07
11/16/2021     KY-030      $484,236.79
12/10/2021     KY-031      $468,359.16
1/18/2022      KY-032      $499,904.18
1/20/2022      KY-033       $44,516.36
2/28/2022      KY-034      $466,003.81
3/4/2022       KY-035      $196,526.00
4/6/2022      KY-036R      $435,236.91
3/5/2022       KY-037       $71,699.30
4/27/2022      KY-038      $552,510.69
5/16/2022      KY-039      $567,284.29
6/17/2022      KY-040      $567,116.07

                                 Appendix A- 1 -
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             APPENDIX A -- PARAGON PRIME CONTRACT INVOICES


FPS EWAID                                 12/8/2017    EWAID-041    $17,758.01
HSHQWA-16-D-00002                         1/11/2018    EWAID-042   $588,427.22
   Date    Invoice No.    Amount          1/11/2018    EWAID-043   $119,585.48
1/11/2017  EWAID-001      $576,503.41     1/11/2018    EWAID-044    $19,589.52
1/12/2017  EWAID-002      $121,342.99     2/9/2018     EWAID-045   $598,323.64
1/12/2017  EWAID-003       $14,674.95     2/9/2018     EWAID-046   $125,228.20
2/8/2017   EWAID-004      $567,820.07     2/9/2018     EWAID-047    $24,720.14
2/8/2017   EWAID-005      $113,951.59     2/13/2018    EWAID-048       $615.12
2/8/2017   EWAID-006       $24,351.59     2/13/2018    EWAID-049     $1,742.84
3/8/2017   EWAID-007      $522,564.91     3/8/2018     EWAID-050   $539,848.80
3/8/2017   EWAID-008      $109,458.63     3/8/2018     EWAID-051   $113,592.18
3/8/2017   EWAID-009       $24,455.43     3/8/2018     EWAID-052    $29,931.00
4/10/2017  EWAID-010      $596,002.75     3/8/2018     EWAID-053     $5,644.72
4/10/2017  EWAID-011      $136,877.04     4/6/2018     EWAID-054   $608,199.91
4/10/2017  EWAID-012       $29,608.29     4/6/2018     EWAID-055   $132,109.84
4/11/2017  EWAID-013        $7,434.35     4/6/2018     EWAID-056    $26,945.33
4/11/2017  EWAID-014        $3,458.45     5/8/2018     EWAID-057   $586,234.99
5/9/2017   EWAID-015      $573,954.12     5/8/2018     EWAID-058   $125,561.39
5/9/2017   EWAID-016      $119,175.40     5/8/2018     EWAID-059    $24,895.96
5/9/2017   EWAID-017       $22,831.72     6/8/2018     EWAID-060   $603,855.62
5/11/2017  EWAID-018          $166.60     6/8/2018     EWAID-061   $131,674.13
5/17/2017  EWAID-019       $71,498.09     6/8/2018     EWAID-062    $22,533.90
5/17/2017  EWAID-020        $2,941.26     7/8/2018     EWAID-063   $585,748.02
6/7/2017   EWAID-021      $606,226.39     7/8/2018     EWAID-064   $125,997.10
6/7/2017   EWAID-022      $130,828.34     7/8/2018     EWAID-065    $24,230.60
6/7/2017   EWAID-023       $33,906.45     8/8/2018     EWAID-066   $598,966.44
7/17/2017  EWAID-024      $592,693.75     8/8/2018     EWAID-067   $126,455.62
7/17/2017  EWAID-025      $131,251.23     8/8/2018     EWAID-068    $21,545.60
7/17/2017  EWAID-026       $28,831.19     9/11/2018    EWAID-069   $618,084.88
8/8/2018   EWAID-027      $585,688.05     9/11/2018    EWAID-070   $137,761.26
8/8/2018   EWAID-028      $119,153.87     9/11/2018    EWAID-071    $26,259.99
8/8/2018   EWAID-029       $27,364.12     10/12/2018   EWAID-072   $575,183.53
9/7/2017   EWAID-030      $615,209.71     10/12/2018   EWAID-073   $112,661.80
9/7/2017   EWAID-031      $136,787.33     10/12/2018   EWAID-074    $17,379.70
9/7/2017   EWAID-032       $29,188.48     11/9/2018    EWAID-075   $612,201.36
10/10/2017 EWAID-033      $575,829.21     11/9/2018    EWAID-076   $130,287.00
10/10/2017 EWAID-034      $119,162.58     11/9/2018    EWAID-077    $34,747.26
10/10/2017 EWAID-035       $25,607.96     12/11/2018   EWAID-078   $579,858.42
11/8/2017  EWAID-036      $596,828.89     12/11/2018   EWAID-079   $116,503.84
11/8/2017  EWAID-037      $125,497.32     12/11/2018   EWAID-080    $30,697.62
11/8/2017  EWAID-038       $24,451.02     1/14/2019    EWAID-081   $576,159.96
12/8/2017  EWAID-039      $574,714.31     1/14/2019    EWAID-082   $107,280.53
12/8/2017  EWAID-040      $116,244.87     1/14/2019    EWAID-083    $24,696.60

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2/11/2019    EWAID-084     $592,683.54     3/12/2020    EWAID-127   $564,018.19
2/11/2019    EWAID-085     $124,568.87     3/12/2020    EWAID-128   $159,529.06
2/11/2019    EWAID-086      $27,785.84     3/12/2020    EWAID-129     $8,728.43
3/5/2019     EWAID-087     $126,726.24     4/10/2020    EWAID-130   $591,772.94
3/5/2019     EWAID-088     $544,052.79     4/10/2020    EWAID-131   $150,817.85
3/5/2019     EWAID-089     $112,943.29     5/10/2020    EWAID-132   $549,537.51
3/11/2019    EWAID-090      $26,442.63     5/10/2020    EWAID-133    $96,976.74
4/18/2019    EWAID-091     $607,887.10     6/12/2020    EWAID-134   $537,036.87
4/18/2019    EWAID-092     $125,037.80     6/12/2020    EWAID-135    $85,912.19
4/18/2019    EWAID-093      $34,147.41     7/9/2020     EWAID-136   $552,001.88
5/8/2019     EWAID-094     $609,802.91     7/9/2020     EWAID-137    $86,398.40
5/8/2019     EWAID-095     $131,091.65     8/11/2020    EWAID-138   $565,641.71
5/8/2019     EWAID-096      $30,359.87     8/11/2020    EWAID-139    $89,837.66
6/8/2019     EWAID-097     $621,936.82     9/9/2020     EWAID-140   $559,394.46
6/8/2019     EWAID-098     $130,599.84     9/9/2020     EWAID-141    $85,212.88
6/8/2019     EWAID-099      $20,670.02     10/9/2020    EWAID-142   $549,090.12
7/9/2019     EWAID-100     $590,156.50     10/9/2020    EWAID-143    $86,011.72
7/9/2019     EWAID-101     $119,003.75     11/11/2020   EWAID-144   $541,209.34
7/9/2019     EWAID-102      $18,716.48     11/11/2020   EWAID-145    $84,822.06
7/30/2019    EWAID-103       $2,593.86     12/9/2020    EWAID-146   $508,358.57
7/30/2019    EWAID-104       $8,074.03     12/9/2020    EWAID-147    $74,960.25
8/7/2019     EWAID-105     $621,963.10     1/14/2021    EWAID-148   $551,959.17
8/7/2019     EWAID-106     $130,617.13     1/14/2021    EWAID-149    $90,103.91
8/7/2019     EWAID-107      $19,025.71     2/12/2021    EWAID-150   $538,267.21
9/9/2019     EWAID-108     $621,129.92     2/12/2021    EWAID-151    $73,076.45
9/9/2019     EWAID-109     $131,091.65     6/2/2021     EWAID-152   $172,496.52
9/9/2019     EWAID-110      $19,458.03     2/22/2021    EWAID-153    $24,804.86
10/8/2019    EWAID-111     $153,128.54     5/23/2021    EWAID-154    $30,956.00
10/8/2019    EWAID-112      $24,711.45     3/16/2021    EWAID-155   $506,894.54
10/8/2019    EWAID-113       $5,153.89     3/16/2021    EWAID-156    $82,963.00
10/9/2019    EWAID-114     $586,460.99     4/10/2021    EWAID-157   $596,966.96
10/9/2019    EWAID-115     $156,013.16     4/10/2021    EWAID-158   $101,042.63
10/9/2019    EWAID-116       $6,979.66     4/12/2021    EWAID-159   $571,241.34
11/14/2019   EWAID-117     $626,468.87     5/11/2021    EWAID-160   $571,241.34
11/14/2019   EWAID-118     $176,155.14     5/11/2021    EWAID-161    $96,995.04
12/9/2019    EWAID-119     $594,935.87     6/11/2021    EWAID-162   $571,575.11
12/9/2019    EWAID-120     $145,918.78     6/11/2021    EWAID-163    $90,833.87
1/7/2020     EWAID-121     $587,311.16     6/25/2021    EWAID-164    $10,961.28
1/7/2020     EWAID-122     $156,794.83     7/13/2021    EWAID-165   $567,483.42
2/11/2020    EWAID-123     $595,995.85     7/13/2021    EWAID-166    $96,332.96
2/11/2020    EWAID-124     $164,953.17     8/10/2021    EWAID-167   $578,196.89
2/14/2020    EWAID-125         $625.32     8/10/2021    EWAID-168    $96,479.31
2/14/2020    EWAID-126         $130.28     9/16/2021    EWAID-169   $601,444.71

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9/16/2021    EWAID-170     $106,482.15     5/9/2023   EWAID-212      $150,668.66
10/14/2021   EWAID-171     $598,720.73                            $56,877,160.68
10/14/2021   EWAID-172     $106,710.70
11/15/2021   EWAID-173     $598,890.76
11/15/2021   EWAID-174     $101,234.08
12/10/2021   EWAID-175     $586,273.68
12/10/2021   EWAID-176      $98,151.00
1/14/2022    EWAID-177     $605,559.71
1/14/2022    EWAID-178     $108,076.00
2/10/2022    EWAID-179     $592,401.86
2/10/2022    EWAID-180     $101,099.79
3/8/2022     EWAID-181     $547,644.87
3/8/2022     EWAID-182      $97,644.02
4/11/2022    EWAID-183     $627,122.24
4/11/2022    EWAID-184R    $121,984.04
5/12/2022    EWAID-185     $598,209.71
5/12/2022    EWAID-186     $164,275.31
6/10/2022    EWAID-187     $608,803.47
6/10/2022    EWAID-188     $168,347.32
7/13/2022    EWAID-189     $596,472.14
7/13/2022    EWAID-190     $168,333.23
8/17/2022    EWAID-191     $600,932.80
8/17/2022    EWAID-192     $158,319.74
3/29/2023    EWAID-193      $63,678.65
3/28/2023    EWAID-194      $12,204.59
9/13/2022    EWAID-195     $635,876.08
9/13/2022    EWAID-196     $184,264.51
10/13/2022   EWAID-197     $599,106.97
10/13/2022   EWAID-198     $168,568.25
11/14/2022   EWAID-199     $616,389.53
11/14/2022   EWAID-200     $153,788.26
12/13/2022   EWAID-201     $603,812.53
12/13/2022   EWAID-202     $151,496.80
1/11/2023    EWAID-203     $622,480.95
1/11/2023    EWAID-204     $165,914.25
2/11/2023    EWAID-205     $619,173.35
2/11/2023    EWAID-206     $162,175.90
3/8/2023     EWAID-207     $569,158.74
3/8/2023     EWAID-208     $156,103.11
4/11/2023    EWAID-209     $652,689.84
4/11/2023    EWAID-210     $184,114.03
5/9/2023     EWAID-211     $599,655.46


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             APPENDIX A -- PARAGON PRIME CONTRACT INVOICES


FPS WEST VIRGINIA                            9/13/2017    WV-041    $35,791.02
HSHQE3-15-D-00002                            9/15/2017    WV-042    $39,997.29
   Date    Invoice No.   Amount              10/13/2017   WV-043   $511,860.58
1/12/2016   WV-001       $580,900.83         10/13/2017   WV-044    $37,045.20
2/9/2016    WV-002       $523,896.76         10/24/2017   WV-045   $112,362.26
3/7/2016    WV-003       $535,907.69         11/14/2017   WV-046   $532,758.11
4/13/2016   WV-004       $597,870.01         11/15/2017   WV-047    $19,355.80
5/8/2016    WV-005       $559,266.83         12/22/2017   WV-048   $497,214.60
6/9/2016    WV-006       $562,794.20         12/22/2017   WV-049    $21,198.62
7/13/2016   WV-007       $575,902.98         1/19/2018    WV-050   $510,764.30
8/16/2016   WV-008       $550,497.27         1/19/2018    WV-051    $18,120.80
8/16/2016   WV-009         $8,037.10         2/21/2018    WV-052   $528,048.85
9/9/2016    WV-010       $600,252.86         2/21/2018    WV-053    $21,380.80
10/7/2016   WV-011       $568,992.06         3/16/2018    WV-054   $478,148.33
10/10/2016  WV-012        $39,107.38         3/16/2018    WV-055    $15,598.70
10/10/2016  WV-013         $1,028.76         4/16/2018    WV-056   $545,971.00
10/1/2016   WV-014        $31,946.64         4/16/2018    WV-057    $15,069.78
11/9/2016   WV-015            $84.00         5/16/2018    WV-058   $523,757.71
11/14/2016  WV-016       $541,138.50         5/16/2018    WV-059    $15,099.70
12/8/2016   WV-017       $528,031.14         6/21/2018    WV-060   $545,159.05
1/5/2017    WV-018         $2,520.00         6/21/2018    WV-061    $14,655.08
1/5/2017    WV-019        $23,300.34         7/18/2018    WV-062   $530,771.89
1/5/2017    WV-020        $19,315.80         7/18/2018    WV-063   $190,650.99
1/8/2017    WV-021       $536,571.19         7/18/2018    WV-064    $23,428.96
1/8/2017    WV-022        $10,792.09         8/8/2018     WV-065    $55,832.89
2/13/2017   WV-023       $522,137.48         8/11/2018    WV-066   $540,596.94
2/13/2017   WV-024        $10,802.23         8/11/2018    WV-067    $13,049.20
3/9/2017    WV-025       $487,242.87         9/17/2018    WV-068   $591,370.76
3/9/2017    WV-026        $14,404.86         9/17/2018    WV-069    $18,482.28
4/11/2017   WV-027       $570,167.05         10/3/2018    WV-070     $3,286.25
4/11/2017   WV-028        $24,758.22         10/22/2018   WV-071   $519,076.90
5/1/2017    WV-029           $283.64         10/22/2018   WV-072    $13,431.11
5/1/2017    WV-030         $1,324.19         11/13/2018   WV-073   $574,911.17
5/1/2017    WV-031         $8,450.04         11/13/2018   WV-074    $16,272.38
5/10/2017   WV-032       $516,324.48         12/13/2018   WV-075   $522,082.86
5/10/2017   WV-033        $24,008.10         12/13/2018   WV-076    $12,446.36
6/8/2017    WV-034       $554,111.00         1/15/2019    WV-077   $497,876.43
6/8/2017    WV-035        $17,648.08         1/15/2019    WV-078    $10,364.07
7/18/2017   WV-036       $532,361.89         2/12/2019    WV-079   $536,263.03
7/18/2017   WV-037        $16,460.44         2/12/2019    WV-080    $16,531.93
8/7/2017    WV-038       $497,312.09         3/12/2019    WV-081   $500,154.97
8/7/2017    WV-039        $18,928.51         3/12/2019    WV-082    $15,216.91
9/13/2017   WV-040       $550,403.42         4/11/2019    WV-083   $552,634.71

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4/11/2019    WV-084      $18,297.87         10/19/2021   WV-127     $522,536.05
5/16/2019    WV-085     $562,275.20         12/2/2021    WV-128     $516,495.53
5/16/2019    WV-086      $15,557.12         1/20/2022    WV-129     $499,128.26
6/12/2019    WV-087     $566,295.76         1/25/2022    WV-130     $510,864.45
6/12/2019    WV-088      $17,894.03         2/23/2022    WV-131     $491,251.49
7/15/2019    WV-089     $525,520.31         3/18/2022    WV-132     $480,326.03
7/15/2019    WV-090      $11,791.92         4/13/2022    WV-133     $551,630.06
8/7/2019     WV-091     $578,435.26         5/20/2022    WV-134     $533,754.29
8/7/2019     WV-092      $11,374.79         6/30/2022    WV-135       $51,841.60
9/17/2019    WV-093      $75,257.63         6/30/2022    WV-136     $540,060.22
9/17/2019    WV-094     $579,889.08         8/4/2022     WV-137     $527,062.00
9/17/2019    WV-095      $13,796.48         8/15/2022    WV-138     $532,726.53
10/15/2019   WV-096     $537,084.36         9/13/2022    WV-139     $621,729.11
10/15/2019   WV-097      $12,415.50         10/27/2022   WV-140     $581,022.96
11/14/2019   WV-098     $579,380.24         11/23/2022   WV-141     $573,015.94
11/18/2019   WV-099      $13,717.33         12/23/2022   WV-142     $560,632.51
12/26/2019   WV-100     $520,134.16         1/25/2023    WV-143     $577,573.05
12/26/2019   WV-101      $12,866.40         2/24/2023    WV-144     $570,532.21
1/15/2020    WV-102     $550,815.76         3/27/2023    WV-145     $531,340.19
3/2/2020     WV-103     $570,230.31         5/2/2023     WV-146     $620,432.50
3/12/2020    WV-104     $527,710.37         5/25/2023    WV-147     $567,962.10
4/23/2020    WV-105     $558,442.85                               $48,827,227.65
5/14/2020    WV-106     $456,082.95
6/15/2020    WV-107     $445,395.73
7/15/2020    WV-108     $461,682.43
8/13/2020    WV-109     $469,557.19
9/23/2020    WV-110     $466,923.83
10/15/2020   WV-111     $468,613.58
11/16/2020   WV-112     $480,379.87
12/16/2020   WV-113     $437,005.36
1/21/2021    WV-114     $483,993.95
2/18/2021    WV-115     $466,326.54
3/11/2021    WV-116     $450,833.67
4/12/2021    WV-117     $530,704.67
4/23/2021    WV-118     $122,393.38
9/9/2021     WV-119      $22,574.70
5/23/2021    WV-120     $521,625.57
6/15/2021    WV-121     $499,688.73
8/3/2021     WV-122     $511,068.70
8/19/2021    WV-123     $518,561.52
9/20/2021    WV-124     $546,749.38
9/27/2021    WV-125      $81,769.16
10/4/2021    WV-126       $4,823.34

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                APPENDIX B – PATRONUS SUBCONTRACT INVOICES


FPS Alabama                                     6/1/2018    A041       $1,538.62
HSHQE4-13-D-00001      HSHQE4-17-D-00002        7/1/2018    A042       $1,608.55
   Date      Invoice        Amount              7/23/2018   A043       $6,667.29
5/18/2015     A001             $10,965.84                          $1,819,490.66
5/20/2015     A002             $28,023.76
6/11/2015     A003             $43,480.86
6/15/2015     A004             $41,119.68
7/22/2015     A005             $43,474.48
7/22/2015     A006             $43,474.48
7/23/2015     A007             $43,657.96
9/2/2015      A008             $45,636.39
10/12/2015    A009             $46,142.80
10/15/2015    A010             $43,947.07
12/30/2015    A011             $45,497.76
1/9/2016      A012             $43,871.15
1/10/2016     A013             $45,730.29
5/9/2016      A014             $45,120.73
5/10/2016     A015             $42,505.88
5/11/2016     A026             $45,976.05
7/20/2016     A017             $45,710.46
7/20/2016     A018             $48,399.92
7/20/2016     A019             $46,999.44
10/24/2016    A020             $50,456.17
10/24/2016    A021             $49,380.58
10/24/2016    A022             $49,686.11
11/21/2016    A023             $47,990.66
12/1/2016     A024             $44,311.52
1/1/2017      A025             $49,426.57
3/15/2017     A026             $46,512.51
4/1/2017      A027             $48,895.24
5/1/2017      A028             $47,838.21
6/1/2017      A029             $48,119.23
7/1/2017      A030             $48,959.22
8/1/2017      A031             $47,282.24
9/1/2017      A032             $49,277.00
10/1/2017     A033             $48,411.46
11/1/2017     A034             $48,076.68
12/1/2017     A035             $49,598.07
1/1/2018      A036             $43,783.94
2/1/2018      A037             $47,929.48
3/1/2018      A038             $45,894.61
4/1/2018      A039             $49,824.78
5/1/2018      A040             $48,286.92

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FPS North Florida                               7/1/2017     F041   $43,694.44
HSHQE4-12-D-00005                               8/1/2017     F042   $40,610.91
   Date      Invoice   Amount                   9/1/2017     F043   $40,656.64
4/15/2014     F001     $30,283.20               10/1/2017    F044   $37,442.45
4/17/2014     F002     $33,311.82               11/1/2017    F045   $27,302.96
6/9/2014      F003     $32,056.48               12/1/2017    F046   $39,428.88
7/10/2014     F004     $27,715.99               1/1/2018     F047   $34,226.92
8/31/2014     F005     $32,029.63               2/1/2018     F048   $40,919.64
9/4/2014      F006     $31,364.30               3/1/2018     F049   $36,983.88
10/5/2014    F007A     $30,254.22               4/1/2018     F050    $3,247.74
10/15/2014    F008     $25,430.32               5/1/2018     F051   $40,614.00
12/23/2014    F009     $35,802.05               6/1/2018     F052   $44,171.84
1/6/2015      F010     $32,185.65               7/1/2018     F053   $43,286.09
1/15/2015    F011A     $30,887.99               7/23/2018    F054   $38,376.22
3/2/2015      F012     $30,255.71               8/20/2018    F055   $42,450.36
3/31/2015    F013A     $37,117.45               9/20/2018    F056   $39,744.13
4/14/2015    F014A     $35,640.21               10/22/2018   F057   $33,325.71
5/18/2015     F015     $39,512.02               11/15/2018   F058   $45,406.80
5/22/2015     F016     $43,354.22               12/20/2018   F059   $59,333.24
6/15/2015     F017     $34,928.59               1/22/2019    F060   $37,878.93
7/23/2015     F018     $36,157.36               2/20/2019    F061   $41,525.52
9/2/2015      F019     $34,643.22               3/20/2019    F062   $51,741.99
10/28/2015    F020     $34,771.56               4/22/2019    F063   $48,423.90
10/28/2015    F021     $31,145.49               5/21/2019    F064   $48,436.60
1/6/2016      F022     $27,023.80               6/21/2019    F065   $50,234.44
1/10/2016     F023     $24,677.57               7/19/2019    F066   $46,642.15
1/10/2016     F024     $30,014.67               8/19/2019    F067   $51,837.46
5/15/2016     F025     $25,118.09               9/20/2019    F068   $39,745.71
5/16/2016     F026     $29,657.75               10/22/2019   F069   $43,389.20
5/17/2016     F027     $36,426.48               11/21/2019   F070   $49,721.61
7/18/2016     F028     $38,937.79               12/10/2019   F071   $49,283.20
7/19/2016     F029     $35,208.83               1/29/2020    F072   $48,168.91
7/20/2016      F30     $41,840.68               2/21/2020    F073   $54,096.38
10/24/2016    F031     $34,492.44               3/20/2020    F074   $42,970.59
10/24/2016    F032     $38,537.61               4/22/2020    F075   $40,696.78
10/24/2016    F033     $40,346.72               5/20/2020    F076   $29,008.60
11/21/2016    F034     $35,962.90               6/25/2020    F077   $28,004.48
12/1/2016     F035     $37,406.53               7/21/2020    F078   $27,745.84
1/1/2017      F036     $43,710.01               8/21/2020    F079   $30,325.86
3/15/2017     F037     $38,935.23               9/23/2020    F080   $33,071.58
4/1/2017      F038     $41,963.99               10/22/2020   F081   $36,774.50
5/1/2017      F039     $42,031.40               11/20/2020   F082   $34,485.32
6/1/2017      F040     $40,197.85               12/21/2020   F083   $27,946.62

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1/20/2021    F084       $36,971.29
2/20/2021    F085       $34,220.07
3/20/2021    F086       $33,056.52
4/21/2021    F087       $34,911.24
5/21/2021    F088       $30,313.08
6/21/2021    F089       $38,355.60
7/20/2021    F090       $37,926.30
8/20/2021    F091       $38,699.54
9/20/2021    F092       $39,185.64
10/21/2021   F093       $39,974.22
11/21/2021   F094       $43,456.80
12/20/2021   F095       $41,491.04
1/20/2022    F096       $48,169.20
2/23/2022    F097       $39,846.67
3/20/2022    F098       $51,623.05
4/21/2022    F099       $52,899.72
5/20/2022    F100       $56,442.72
6/21/2022    F101       $80,931.65
7/24/2022    F102       $71,290.68
8/22/2022    F103       $59,626.90
9/24/2022    F104       $69,613.80
10/20/2022   F105       $76,051.29
11/22/2022   F106       $79,370.47
12/21/2022   F107       $71,060.22
1/20/2023    F108       $80,369.85
2/20/2023    F109       $87,519.78
3/20/2023    F110       $86,358.09
4/20/2023    F111       $87,512.61
6/5/2023     F112       $80,790.71
                     $4,732,755.59




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FPS Louisiana                                   1/20/2023   L041      $57,516.83
HSHQC7-15-D-00001                               2/20/2023   L042      $53,473.07
   Date      Invoice   Amount                   3/20/2023   L043      $57,882.96
9/20/2019     L001     $69,834.84               4/20/2023   L044      $54,595.50
10/22/2019    L002     $49,208.16               6/5/2023    L045      $48,201.79
11/21/2019    L003     $49,208.16                                  $2,290,097.38
12/20/2019    L004      $1,675.33
1/29/2020     L005     $48,111.56
2/21/2020     L006     $51,600.44
3/20/2020     L007     $53,474.19
4/22/2020     L008     $51,435.09
5/20/2020     L009     $45,074.41
6/25/2020     L010     $47,815.69
7/21/2020     L011     $48,262.24
8/21/2020     L012     $50,301.58
9/23/2020     L013     $45,230.13
10/22/2020    L014     $52,843.00
11/20/2020    L015     $49,867.13
12/21/2020    L016     $47,587.83
1/20/2021     L017     $47,734.28
2/20/2021     L018     $45,057.43
3/20/2021     L019     $42,915.95
4/21/2021     L020     $40,826.28
5/21/2021     L021     $44,003.96
6/21/2021     L022     $46,292.24
7/20/2021     L023     $55,531.69
8/20/2021     L024     $58,060.90
9/20/2021     L025     $49,723.65
10/21/2021    L026     $57,769.91
11/22/2021    L027     $45,515.06
12/20/2021    L028     $43,947.15
1/20/2022     L029     $50,735.51
2/23/2022     L030     $47,673.03
3/23/2022     L031     $56,378.85
4/21/2022     L032     $58,359.93
5/20/2022     L033     $50,562.85
6/21/2022     L034     $54,615.88
7/25/2022     L035     $56,560.60
8/22/2022     L036     $62,031.28
9/21/2022     L037     $63,460.77
10/20/2022    L038     $63,146.71
11/22/2022    L039     $62,583.63
12/21/2022    L040     $53,409.91

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FPS New England (Maine)
70RFP118DE1000001
    Date      Invoice        Amount
8/20/2021     ME001         $120,927.40
9/20/2021     ME002         $120,927.40
10/21/2021    ME003         $126,973.33
11/22/2021    ME004          $96,096.67
12/20/2021    ME005          $92,592.22
1/20/2022     ME006         $112,738.36
2/23/2022     ME007         $114,474.87
3/23/2022     ME008         $110,754.33
4/21/2022     ME009         $118,701.20
5/20/2022     ME010         $110,317.30
6/21/2022     ME011         $124,728.41
7/24/2022     ME012         $108,650.74
8/22/2022     ME013         $114,007.41
9/21/2022     ME014         $124,950.34
10/20/2022    ME015         $127,551.07
11/22/2022    ME016         $125,774.21
12/21/2022    ME017         $119,921.79
1/20/2023     ME018         $145,396.48
2/20/2023     ME019         $123,756.81
3/20/2023     ME020         $132,451.11
4/20/2023     ME021         $138,265.46
6/5/2023      ME022         $125,451.64
                          $2,635,408.55




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FPS Southern Virginia
HSHQE3-14-D-00005
   Date      Invoice     Amount
9/1/2017    SVA001      $138,993.60
11/1/2017   SVA002       $48,846.47
11/1/2017   SVA003       $46,426.96
12/1/2007   SVA004       $63,453.60
2/15/2018   SVA005       $46,907.67
2/15/2018   SVA006       $57,101.17
                        $401,729.47




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FPS Alabama
HSHQE4-13-D-00001
   Date     Invoice      Amount
6/16/2015   AL-069       $589,535.56
7/16/2015   AL-070       $600,192.36
9/15/2015   AL-071       $600,109.32
8/18/2015   AL-072       $594,724.80
9/14/2015   AL-073       $582,214.06
10/15/2015  AL-074       $598,555.83
11/16/2015  AL-077       $603,317.87
1/4/2016    AL-078       $599,762.63
1/15/2016   AL-079       $615,759.16
2/17/2016   AL-080       $575,229.11
3/10/2016   AL-081       $582,712.81
4/8/2016    AL-082       $653,915.25
5/16/2016   AL-083       $610,425.07
6/22/2016   AL-084       $616,142.74
7/28/2016   AL-085       $626,985.56
8/11/2016   AL-086       $595,561.60
9/19/2016   AL-087       $657,106.03
12/2/2016   AL-088       $617,049.82
1/12/2017   AL-089       $657,311.90
1/12/2017   AL-090       $654,556.22
1/19/2017   AL-091       $690,623.32
3/23/2017   AL-092R      $674,000.92
3/20/2017   AL-093       $642,548.66
4/17/2017   AL-094       $752,157.44
5/15/2017   AL-095       $673,274.99
6/22/2017   AL-096       $745,238.90
8/8/2017    AL-097R      $736,610.19
8/29/2017   AL-098       $700,422.51
10/11/2017  AL-099       $773,512.71
11/2/2017   AL-100       $803,794.04
1/8/2018    AL-101       $803,787.12
2/9/2018    AL-102       $684,366.84
2/1/2018    AL-103       $684,291.63
3/1/2018    AL-104       $684,231.41
3/22/2018   AL-105       $653,833.00
4/19/2018   AL-106       $742,967.14
5/29/2018   AL-107       $716,044.07
6/27/2018   AL-108       $750,429.49
7/11/2018   AL-109       $723,658.02
                      $25,866,960.10

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FPS North Florida                           8/24/2017    NFL-065    $1,122,177.82
HSHQE4-12-D-00005 /                         10/4/2017    NFL-066    $1,410,132.83
HSHQE4-17-D-00002                           11/29/2017   NFL-067    $1,017,443.40
   Date      Invoice    Amount              3/13/2018    NFL-069R   $1,238,147.10
6/24/2014    NFL-019   $1,099,201.70        3/13/2018    NFL-070    $1,278,184.57
7/16/2014    NFL-020   $1,094,195.12        3/29/2018    NFL-071    $1,330,272.66
8/18/2014    NFL-021   $1,140,257.12        3/29/2018    NFL-072    $1,220,530.34
9/19/2014    NFL-023   $1,145,476.51        5/16/2018    NFL-073    $1,415,858.53
10/21/2014   NFL-025   $1,135,067.67        6/6/2018     NFL-074    $1,355,724.33
11/24/2014   NFL-026   $1,182,822.40        6/26/2018    NFL-075    $1,403,008.72
1/15/2015    NFL-027   $1,020,218.93        7/27/2018    NFL-076    $1,341,781.50
2/10/2015    NFL-028   $1,149,249.54        8/15/2018    NFL-077    $1,358,296.14
3/11/2015    NFL-029   $1,112,846.80        10/1/2018    NFL-078    $1,468,623.54
3/26/2015    NFL-031   $1,042,861.91        10/25/2018   NFL-079    $1,254,214.54
5/1/2015     NFL-032   $1,193,687.23        11/30/2018   NFL-080    $1,396,987.64
5/28/2015    NFL-033   $1,192,116.52        12/7/2018    NFL-081      $618,824.17
6/26/2015    NFL-034   $1,140,316.80        12/27/2018   NFL-082    $1,323,024.54
7/31/2015    NFL-036   $1,231,910.77        1/31/2019    NFL-083    $1,173,611.28
8/26/2015    NFL-038   $1,268,852.85        2/21/2019    NFL-084    $1,291,691.95
9/28/2015    NFL-039   $1,226,720.62        3/14/2019    NFL-085    $1,260,393.23
10/19/2015   NFL-040   $1,216,511.05        5/31/2019    NFL-086    $1,368,212.74
11/20/2015   NFL-041   $1,229,146.32        6/11/2019    NFL-087    $1,389,250.91
12/16/2015   NFL-042   $1,126,678.81        6/19/2019    NFL-088    $1,414,760.85
2/3/2016     NFL-043   $1,257,353.53        7/25/2019    NFL-089    $1,319,410.85
2/25/2016    NFL-045   $1,160,138.43        10/4/2019    NFL-090    $1,417,277.43
2/21/2016    NFL-046   $1,169,202.80        9/23/2019    NFL-091    $1,373,987.38
4/20/2016    NFL-047   $1,316,427.99        11/22/2019   NFL-092    $1,321,216.73
5/23/2016    NFL-050   $1,264,103.57        1/16/2020    NFL-093    $1,484,452.19
6/24/2016    NFL-051   $1,268,057.19        12/30/2019   NFL-094    $1,321,055.76
8/1/2016     NFL-052   $1,328,768.19        1/30/2020    NFL-095    $1,347,961.06
8/26/2018    NFL-053   $1,246,636.37        2/28/2020    NFL-096    $1,431,314.10
9/23/2016    NFL-054   $1,385,406.95        3/31/2020    NFL-097    $1,315,936.04
11/7/2016    NFL-055   $1,269,928.91        4/30/2020    NFL-098    $1,366,578.00
12/6/2016    NFL-056   $1,235,475.36        6/2/2020     NFL-099    $1,117,900.80
1/9/2017     NFL-057   $1,276,823.29        6/18/2020    NFL-100    $1,102,976.56
2/3/2017     NFL-058   $1,329,852.05        7/23/2020    NFL-101    $1,221,887.88
3/8/2018     NFL-059   $1,304,302.24        9/17/2020    NFL-102    $1,246,148.40
4/3/2017     NFL-060   $1,214,087.29        9/29/2020    NFL-103    $1,227,943.23
5/1/2017     NFL-061   $1,384,600.78        10/26/2020   NFL-104    $1,191,754.95
5/30/2017    NFL-062   $1,234,372.82        11/27/2020   NFL-105    $1,288,845.64
6/23/2017    NFL-063   $1,329,267.89        1/8/2021     NFL-106    $1,219,246.07
7/25/2017    NFL-064   $1,320,146.01        2/10/2021    NFL-107    $1,229,407.99

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3/15/2021    NFL-108     $1,132,096.97
4/6/2021     NFL-109     $1,156,127.54
5/10/2021    NFL-110     $1,351,087.85
5/25/2021    NFL-111     $1,293,373.78
6/30/2021    NFL-112     $1,229,398.45
7/29/2021    NFL-113     $1,314,795.49
8/31/2021    NFL-114     $1,320,196.84
11/5/2021    NFL-115     $1,433,262.60
10/29/2021   NFL-116     $1,383,531.73
11/23/2021   NFL-117     $1,426,401.90
1/18/2022    NFL-118     $1,394,979.30
1/28/2022    NFL-119     $1,476,016.64
2/25/2022    NFL-120     $1,437,844.48
3/22/2022    NFL-121     $1,365,031.68
5/27/2022    NFL-122     $1,628,179.52
6/17/2022    NFL-123     $1,603,657.28
8/8/2022     NFL-124     $1,595,880.00
8/1/2022     NFL-125     $1,582,993.93
10/11/2022   NFL-126     $1,558,392.32
10/11/2022   NFL-127     $1,727,349.76
11/14/2022   NFL-128     $1,439,074.56
11/30/2022   NFL-129     $1,544,116.86
12/30/2022   NFL-130     $1,498,891.31
2/16/2023    NFL-131     $1,646,433.00
2/27/2023    NFL-132     $1,623,095.40
3/24/2023    NFL-133     $1,497,992.40
4/19/2023    NFL-134     $1,768,425.00
                       $139,668,171.31




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FPS Louisiana                                    8/21/2020     LA-256   $108,807.14
HSHQC7-15-D-00001                                8/21/2020     LA-257   $401,556.44
   Date      Invoice   Amount                    8/21/2020     LA-258     $7,008.66
12/18/2019 LA-216      $112,817.72               8/21/2020     LA-259   $106,369.27
12/18/2019 LA-217      $370,017.40               8/21/2020     LA-260     $8,857.34
12/18/2019 LA-218       $26,545.60               9/29/2020     LA-261    $98,582.70
12/18/2019 LA-219      $218,328.52               9/29/2020     LA-262   $397,755.69
12/18/2019 LA-220       $33,542.90               9/29/2020     LA-263    $22,797.95
1/21/2020   LA-221     $123,880.87               9/29/2020     LA-264   $102,325.30
1/21/2020   LA-222     $389,116.76               9/29/2020     LA-265     $7,994.88
1/21/2020   LA-223      $27,712.91               11/3/2020     LA-266   $102,132.41
1/21/2020   LA-224     $236,131.35               11/3/2020    LA-267R   $388,917.60
1/21/2020   LA-225      $31,010.84               11/3/2020     LA-268    $28,127.82
2/13/2020   LA-226     $129,000.25               11/3/2020     LA-269   $105,599.04
2/13/2020   LA-227     $392,485.79               11/3/2020     LA-270     $9,077.62
2/13/2020   LA-228      $29,316.57               11/3/2020     LA-271   $731,756.88
2/13/2020   LA-229     $253,707.08               12/11/2020    LA-272   $101,700.99
2/13/2020   LA-230      $33,337.32               12/11/2020    LA-273   $392,088.24
3/25/2020   LA-231     $112,870.14               12/11/2020    LA-274   $100,382.01
3/25/2020   LA-232     $359,358.94               12/11/2020    LA-275    $39,429.14
3/25/2020   LA-233      $26,069.01               12/11/2020    LA-276   $678,155.36
3/25/2020   LA-234     $226,451.26               1/6/2021      LA-277   $103,893.81
3/25/2020   LA-235      $38,503.83               1/6/2021      LA-278   $378,349.35
5/1/2020    LA-236     $125,356.95               1/6/2021      LA-279    $98,447.65
5/1/2020    LA-237     $399,596.05               1/6/2021      LA-280    $37,038.87
5/1/2020    LA-238      $19,664.92               1/6/2021      LA-281   $528,086.71
5/1/2020    LA-239     $218,488.16               2/3/2021      LA-282   $113,673.15
5/1/2020    LA-240      $29,003.31               2/3/2021      LA-283   $401,464.33
6/1/2020    LA-241      $73,743.45               2/3/2021      LA-284   $107,884.48
6/1/2020    LA-242     $382,693.97               2/3/2021      LA-285    $35,583.92
6/1/2020    LA-243           $0.00               2/26/2021     LA-286   $102,948.10
6/1/2020    LA-244     $101,442.91               2/26/2021     LA-287   $385,998.23
6/1/2020    LA-245       $7,150.88               2/26/2021     LA-288    $97,519.83
6/30/2020   LA-246      $67,354.38               2/26/2021     LA-289    $31,676.34
6/30/2020   LA-247     $382,553.34               3/23/2021     LA-290   $104,548.55
6/30/2020   LA-248           $0.00               3/23/2021     LA-291   $347,223.82
6/30/2020   LA-249      $96,323.54               3/23/2021     LA-292    $88,776.42
6/30/2020   LA-250       $9,283.95               3/23/2021     LA-293    $28,683.30
7/29/2020   LA-251      $98,168.98               4/27/2021     LA-294   $133,782.64
7/29/2020   LA-252     $391,388.79               4/27/2021     LA-295   $416,219.62
7/29/2020   LA-253           $0.00               4/27/2021    LA-296R   $131,049.38
7/29/2020   LA-254     $105,309.24               4/27/2021     LA-297    $53,542.18
7/29/2020   LA-255      $18,852.32               5/27/2021     LA-298   $128,129.13

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5/27/2021    LA-299   $401,077.75               3/25/2022   LA-342   $349,150.50
5/27/2021    LA-300   $126,638.35               3/25/2022   LA-343   $192,044.56
5/27/2021    LA-301    $31,260.64               3/25/2022   LA-344    $29,670.30
6/24/2021    LA-302   $123,036.80               4/29/2022   LA-345   $184,585.23
6/24/2021    LA-303   $394,499.30               4/29/2022   LA-346   $393,964.64
6/24/2021    LA-304   $122,485.97               4/29/2022   LA-347   $229,710.06
6/24/2021    LA-305    $42,942.81               4/29/2022   LA-348    $33,026.94
7/27/2021    LA-306   $149,340.21               6/8/2022    LA-349   $173,439.18
7/27/2021    LA-307   $401,836.40               6/8/2022    LA-350   $380,519.10
7/27/2021    LA-308   $192,676.88               6/8/2022    LA-351   $225,394.38
7/27/2021    LA-309    $43,149.66               6/8/2022    LA-352    $26,493.48
9/3/2021     LA-310   $149,586.30               7/11/2022   LA-353   $181,384.43
9/3/2021     LA-311   $401,836.40               7/11/2022   LA-354   $386,273.34
9/3/2021     LA-312   $218,048.73               7/11/2022   LA-355   $231,025.54
9/3/2021     LA-313    $43,149.66               7/11/2022   LA-356    $22,307.67
9/30/2021    LA-314   $153,019.16               9/29/2022   LA-357   $179,979.44
9/30/2021    LA-315   $387,349.26               9/29/2022   LA-358   $378,680.94
9/30/2021    LA-316   $214,230.98               9/29/2022   LA-359   $233,606.16
9/30/2021    LA-317    $42,068.84               9/29/2022  LA-360R    $24,023.91
9/30/2021    LA-318     $3,304.10               9/13/2022   LA-361   $180,734.54
10/22/2021   LA-319   $102,961.81               9/13/2022   LA-362   $384,756.19
10/22/2021   LA-320   $370,097.71               9/13/2022   LA-363   $226,812.96
10/22/2021   LA-321   $194,210.34               9/13/2022   LA-364    $43,496.46
10/22/2021   LA-322    $42,692.39               10/13/2022 LA-365    $204,872.60
10/22/2021   LA-323         $0.00               10/13/2022 LA-366    $405,428.17
11/30/2021   LA-324   $148,214.83               10/13/2022 LA-367    $273,748.07
11/30/2021   LA-325   $378,780.84               10/13/2022 LA-368     $33,851.40
11/30/2021   LA-326   $195,014.79               11/30/2022 LA-369    $188,496.91
11/30/2021   LA-327    $43,576.38               11/30/2022 LA-370    $383,697.69
11/30/2021   LA-328   $100,016.00               11/30/2022 LA-371    $245,777.38
1/4/2022     LA-329   $149,270.58               11/30/2022 LA-372     $41,849.13
1/4/2022     LA-330   $370,908.72               12/6/2022   LA-373   $180,428.99
1/4/2022     LA-331   $190,119.69               12/6/2022   LA-374   $412,419.92
1/4/2022     LA-332    $43,676.28               12/6/2022   LA-375   $236,092.59
1/24/2022    LA-333   $158,271.96               12/6/2022   LA-376     $5,783.67
1/24/2022    LA-334   $386,035.17               12/28/2022 LA-377    $178,385.22
1/24/2022    LA-335   $204,105.69               12/28/2022 LA-378    $404,350.36
1/24/2022    LA-336    $45,294.66               12/28/2022 LA-379    $224,589.74
2/28/2022    LA-337   $160,512.52               12/28/2022 LA-380      $5,154.38
2/28/2022    LA-338   $479,010.61               1/18/2023   LA-381   $182,526.76
2/28/2022    LA-339   $195,400.40               1/18/2023   LA-382   $419,117.83
2/28/2022    LA-340    $32,507.46               1/18/2023 LA-383     $240,038.89
3/25/2022    LA-341   $152,823.02               1/18/2023 LA-384       $9,543.81

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                   APPENDIX C – PARAGON INVOICES – APPENDIX
          PARAGON PRIME CONTRACTS WITH PATRONUS SUBCONTRACT

2/27/2023   LA-385      $182,267.13
2/27/2023   LA-386      $412,456.89
2/27/2023   LA-387      $234,766.63
2/27/2023   LA-388       $15,601.59
5/16/2023   LA-393      $207,222.29
5/16/2023   LA-394      $436,810.96
5/16/2023   LA-395      $270,644.73
5/2/2022    LA-396       $23,456.39
                     $32,026,022.61




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                  APPENDIX C – PARAGON INVOICES – APPENDIX
         PARAGON PRIME CONTRACTS WITH PATRONUS SUBCONTRACT


FPS New England (Maine)
70RFP118DE1000001
    Date     Invoice      Amount
9/13/2021    ME-103      $204,917.31
10/18/2021  ME-104R      $192,335.45
11/16/2021   ME-105     $176,363.59
12/13/2021   ME-106     $181,775.75
1/19/2022    ME-107      $191,855.92
2/15/2022    ME-108      $181,579.52
3/21/2022    ME-109      $168,846.95
5/2/2022     ME-110      $236,521.78
5/19/2022    ME-111      $215,216.21
6/10/2022    ME-112      $212,229.08
7/31/2022    ME-113      $212,818.39
8/24/2022    ME-114      $207,050.13
9/26/2022    ME-115      $236,333.44
10/31/2022   ME-116     $223,284.82
12/18/2022   ME-117     $216,850.66
12/13/2022   ME-118     $210,475.12
1/18/2023    ME-119      $223,008.93
2/21/2023    ME-120      $208,738.31
3/29/2023    ME-121      $199,101.24
4/20/2023    ME-122      $245,517.48
5/15/2023    ME-123      $216,254.17
                       $4,361,074.25




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                  APPENDIX C – PARAGON INVOICES – APPENDIX
         PARAGON PRIME CONTRACTS WITH PATRONUS SUBCONTRACT


FPS Southern Virginia
HSHQE3-14-D-00005
   Date      Invoice      Amount
10/30/2017 SVA-102      $1,127,712.32
10/30/2017 SVA-103         $17,164.40
1/16/2018   SVA-104     $1,128,561.82
11/30/2017 SVA-105         $18,022.62
2/1/2018    SVA-106        $54,250.79
1/30/2018   SVA-110     $1,088,453.48
1/30/2018   SVA-111        $17,164.40
2/1/2018    SVA-112        $41,605.69
                        $3,492,935.52




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